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                                                                                             Peter Heinke
                                                                                                 11/22/2019

 1          UNITED STATES DISTRICT COURT             1               INDEX
 2          SOUTHERN DISTRICT OF NEW YORK            2 Witness:
 3                                                                                           Page
 4 U.S. SECURITIES AND EXCHANGE )                    3 Peter Heinke (Volume 1)
   COMMISSION,                    )                  4 Examination by Mr. Mendel                       16
 5                       )                           5
              Plaintiff,    ) Case No.
 6                       ) 19-cv-5244(AKH)
                                                     6
   v.                     )                          7
 7                       )                           8
   KIK INTERACTIVE INC.              )               9
 8                       )
              Defendant.       )                    10
10 _________________________________)               11
11                                                  12
12     VIDEOTAPED DEPOSITION OF PETER HEINKE        13
13       (Volume 1, pages 1 - 212 inclusive)
14          Friday, November 22, 2019               14
15               8:57 a.m.                          15
16               Taken at:                          16
17      U.S. Securities & Exchange Commission
             100 F Street, Northeast
                                                    17
18           Washington, D.C. 20549                 18
19                                                  19
20                                                  20
21
22                                                  21
23                                                  22
   Reported by:                                     23
24 Michele E. Eddy
   (RPR, CRR, CRI, Participating Member of NCRA)
                                                    24
25 JOB No. 191122ERS                                25

                           1                                                   3

 1           APPEARANCES                             1         EXHIBIT INDEX
 2 ON BEHALF OF THE PLAINTIFF:
 3   U.S. SECURITIES AND EXCHANGE COMMISSION
                                                     2    No.   Description                   Page
 4      100 F Street NE                              3   SEC Exhibit 4 Email dated 2-16-17 from Ted     62
        Washington, DC 20549-5977                    4            Livingston to Kik Board and
 5
        Telephone: (202) 551 4418 (Mendel)
                                                     5            Derek Lebert, with attachment;
 6                                                   6            KIK_00026450 - 6494
     BY: MR. DAVID S. MENDEL, Esq.                   7   SEC Exhibit 6 CoinFund document titled,      70
 7      MR. STEPHAN J. SCHLEGELMILCH, Esq.
        mendeld@sec.gov                              8            "Token Integration Research
 8      schlegelmilchs@sec.gov                       9            and Proposed Economics," dated
 9                                                  10            3-21-17;
10 On behalf of Defendant:
11   COOLEY LLP                                     11            COINFUND007691 - 7747
12      500 Boylston Street                         12   SEC Exhibit 7 Board Call dated 5-23-17;      94
        Boston, MA 02116-3736                       13            KIK_00106868 - 6898
13
        Telephone: (617) 937 2480 (Cadigan)         14   SEC Exhibit 10 Email dated 5-18-17 from Eran    15
14      Facsimile: (617) 937 2400 (Cadigan)         15            Ben Ari to Ted Livingston,
15   BY: MR. LUKE T. CADIGAN, Esq.
        MR. MICHAEL E. WELSH, Esq.
                                                    16            Nancy Wojtas, and the
16                                                  17            Leadership Team;
        lcadigan@cooley.com                         18            KIK_00103093 - 3097
17      mwelsh@cooley.com
18      AND
                                                    19   SEC Exhibit 12 Kin position paper titled,  126
19   COOLEY LLP                                     20            "Kin: a decentralized
20      55 Hudson Yards                             21            ecosystem of digital services
        New York, NY 10001-2157
21      Telephone: (212) 479-6784                   22            for daily life," dated May
22   BY: MR. DANIEL P. ROY, III, Esq.               23            2017; KIK000001 - 28
23      droy@cooley.com                             24
24
25 ALSO PRESENT: Gene Aronoff, Videographer         25

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 2                                                           2
 3    No.   Description                  Page                3    No.   Description                  Page
 4   SEC Exhibit 16 Kik Interactive Inc.       164           4   SEC Exhibit 29 Email dated 2-3-17 from Peter   60
 5            Confidential                                   5           Heinke to Ted Livingston;
 6            Private Placement Offering                     6           KIK_00021266 - 1267
 7            Memorandum, Purchase Rights                    7   SEC Exhibit 30 Review of CoinFund Deliverable    70
 8            for Tokens pursuant to Simple                  8           dated 3-22-17;
 9            Agreement for Future Tokens;                   9           KIK_00044719 - 4725
10            KIK000037 - 65                                10   SEC Exhibit 31 Crypto Survey Feedback;        15
11   SEC Exhibit 19 Subpoena to Testify for Peter   19      11           KIK_00044727 - 4733
12            Heinke                                        12   SEC Exhibit 32 Email dated 3-24-17 from Peter  15
13   SEC Exhibit 20 Securities and Exchange        20       13           Heinke to Jake@coinfund.io;
14            Commission Supplemental                       14           COINFUND009764 - 9765
15            Information for Persons                       15   SEC Exhibit 33 Email dated 4-3-17 from Jake    75
16            Requested to Supply                           16           Brukhman to Peter Heinke, with
17            Information Voluntarily                       17           attachment;
18            or Directed to Supply                         18           COINFUND020091 - 884
19            Information Pursuant to a                     19   SEC Exhibit 34 Email dated 4-28-17 from Peter  15
20            Commission Subpoena                           20           Heinke to jake@coinfund.io, with
21   SEC Exhibit 21 Transcript dated 9-20-18 of    24       21           attachment; COINFUND010140 - 159
22            Peter Heinke                                  22   SEC Exhibit 35 Email dated 4-10-17 from Ted    84
23   SEC Exhibit 22 Transcript dated 9-21-18 of    24       23           Livingston to Kik Board, with
24            Peter Heinke                                  24           attachment; KIK_00106656 - 6714
25                                                          25

                            5                                                           7

 1          EXHIBIT INDEX CONTINUED                          1           EXHIBIT INDEX CONTINUED
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 3    No.   Description                   Page               3    No.   Description                    Page
 4   SEC Exhibit 23 Letter dated 6-13-18 from        15      4   SEC Exhibit 36 Email dated 5-4-17 from Ted      85
 5            Brent Mitchell to Peter                        5            Livingston to Kik Board, with
 6            Heinke, with attachment                        6            attachment; KIK_00106784 - 6835
 7   SEC Exhibit 24 Background Questionnaire for       15    7   SEC Exhibit 37 Email dated 6-8-17 from Tanner 15
 8            Peter Albert Heinke                            8            Philp to Jesse Clayburgh, Alex
 9   SEC Exhibit 25 Kik Interactive Inc. Consultant 195      9            Felix, Peter Heinke, and Juan
10            Agreement dated July 1, 2018                  10            Benet, with attachment;
11            between Kik Interactive Inc.                  11            PL 000062 - 66
12            and Peter Heinke;                             12   SEC Exhibit 38 Email dated 6-2-17 from Tanner 15
13            KIK_00147219 - 7227                           13            Philp to Peter Heinke, with
14   SEC Exhibit 26 Consolidated Financial          44      14            attachment; KIK_00017719 - 7741
15            Statements of Kik Interactive                 15   SEC Exhibit 39 Kik Interactive, Inc. Pre-Sale 15
16            Inc. year ended                               16            Participant Name list;
17            6-30-16; KIK_00007193 - 7229                  17            KIK000283
18   SEC Exhibit 27 Consolidated Financial          44      18   SEC Exhibit 40 Kik Interactive Inc. - SAFTS - 170
19            Statements of Kik Interactive                 19            Participant Name list
20            Inc. year ended                               20   SEC Exhibit 41 Email dated 5-16-17 from Tanner 15
21            6-30-17; KIK_00007243 - 7279                  21            Philp to Peter Heinke and
22   SEC Exhibit 28 Email dated 1-27-17 from Ted       47   22            Jairaj@kik.com;
23            Livingston to Kik Board and                   23            KIK_00092469 - 70
24            Derek Lebert, with attachment;                24
25            KIK_FOUNDATION_CAP_005705 - 5771              25

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 1            EXHIBIT INDEX CONTINUED                       1            EXHIBIT INDEX CONTINUED
 2                                                          2
 3    No.   Description                   Page              3    No.   Description                   Page
 4   SEC Exhibit 42 Email chain; most recent email   113    4   SEC Exhibit 53 Initial Kin Insurance Meeting 146
 5            dated 5-17-17 from Eran Ben Ari               5            Notes dated 6-13-17;
 6            to Tanner Philp, etc.;                        6            KIK_00118242 - 8245
 7            KIK_00100121 - 122                            7   SEC Exhibit 54 Email dated 7-10-17 from Google 15
 8   SEC Exhibit 43 Email chain; most recent email   15     8            Calendar to Tanner Philp, etc.;
 9            dated 5-21-17 from Tanner Philp               9            KIK_00002106 - 2107
10            to Peter Heinke, with attachment;            10   SEC Exhibit 55 Document titled "Kik announces 184
11            KIK_00017627 - 7642                          11            highly anticipated token
12   SEC Exhibit 44 Email chain; most recent email   15    12            distribution event"
13            dated 6-10-17 from Eran Ben Ari              13   SEC Exhibit 56 Email chain; most recent email 15
14            to Marth Funston, Erin Clift,                14            dated 9-8-17 from Erin Clift to
15            Peter Heinke, and Ted Livingston;            15            Jairaj@kik.com, etc.;
16            KIK_00103267                                 16            KIK_00025985 - 989
17   SEC Exhibit 45 Email chain; most recent email   135   17   SEC Exhibit 57 United States Securities and    15
18            dated 6-12-17 from Peter Heinke              18            Exchange Commission - Form D;
19            to Paul Holland, Michelle Dent,              19            KIK000073 - 78
20            Kik Board, Katie Tonin, Derek                20   SEC Exhibit 58 Letter dated 11-2-17 from Ross 176
21            Lebert, Angela Baiamonte, and                21            McKee at Blakes (Blake, Cassels &
22            Sam Spadafora;                               22            Graydon LLP); SEC-OSC-E-0000005
23            KIK_00001840 - 1842                          23   SEC Exhibit 59 Kin blog titled, "Canadian    181
24                                                         24            Residents Excluded from Next
25                                                         25            Week's Kin TDE," by Ted Livingston

                            9                                                         11

 1               EXHIBIT INDEX                              1           EXHIBIT INDEX CONTINUED
 2    No.   Description                  Page               2
 3   SEC Exhibit 46 Minutes of a Meeting of the    15       3    No.   Description                    Page
 4            Board of Directors of Kik                     4   SEC Exhibit 60 Document titled, "Kin token   185
 5            Interactive Inc.;                             5            distribution event starts today,"
 6            KIK_00078790 - 8791                           6            dated 9-12-17
 7   SEC Exhibit 47 Email chain; most recent email 138      7   SEC Exhibit 61 Document titled, "Kik raises  185
 8            dated 6-15-17 from Peter Heinke               8            nearly US $100 million in Kin
 9            to Ted Livingston; KIK_00100298               9            token distribution event,"
10   SEC Exhibit 48 Email chain; most recent email 15      10            dated 9-26-17
11            dated 6-17-17 from Tanner Philp              11   SEC Exhibit 62 Certificate of Incorporation 186
12            to Dan Morehead, etc.;                       12            for Kin Ecosystem Foundation;
13            PANT-000000459 - 461                         13            KIK001071 - 1076
14   SEC Exhibit 49 Email dated 6-14-17 from Nancy 143     14   SEC Exhibit 63 Email dated 1-9-18 from Peter   15
15            Wojtas to Peter Heinke;                      15            Heinke to William J. Raduchel;
16            KIK_00113490 - 3493                          16            WR-Kik-00000282 - 287
17   SEC Exhibit 50 Email dated 6-26-17 from Nancy 15      17   SEC Exhibit 64 Services Agreement between Kik 15
18            Wojtas to Ted Livingston, with               18            Interactive Inc. and Kin Ecosystem
19            attachment; KIK_00103324 - 3327              19            Foundation; KIK_00147202 - 7210
20   SEC Exhibit 51 Email chain; most email dated   15     20   SEC Exhibit 65 Agency Agreement between Kin      15
21            6-28-17 from Peter Heinke to                 21            Ecosystem Foundation and Kik
22            Michelle Dent, with attachment;              22            Interactive Inc.;
23            KIK_00117728 - 7730                          23            KIK_00147211 - 7218
24   SEC Exhibit 52 Notice to Residents of the    166      24
25            United States; KIK000066 - 72                25

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 1           EXHIBIT INDEX CONTINUED                       1          (Plaintiff's Exhibits 4, 6, 7, 10, 12, 16,
 2                                                         2   and 23 through 65 were previously marked before
 3    No.   Description                   Page             3   going on the record.)
 4   SEC Exhibit 66 Document titled "Deposition of 29      4            (On the record at 8:57 a.m.)
 5            Peter Heinke on November 22,                 5          THE VIDEOGRAPHER: Good morning. This
 6            2019, Index of Exhibits                      6   is video number 1 of the video deposition of Peter
 7            Previously Marked in                         7   Heinke taken by plaintiff in the matter of United
 8            Investigative Testimony"                     8   States Securities and Exchange Commission versus
 9   SEC Exhibit 67 Email dated 7-18-17 from Angela 151    9   Kik Interactive, pending before the United States
10            Watkins to Peter Heinke;                    10   District Court for the Southern District of New
11            KIK_00115681 - 5686                         11   York, Case Number 1:19-cv-05244.
12   SEC Exhibit 68 Email chain; most recent email 155    12          This deposition is being held at the
13            dated 8-3-17 from Katie Tonin to            13   United States Securities and Exchange Commission
14            Kik Board, Angela Baiamonte,                14   on November 22nd, 2019. The time on the video
15            Annemarie Palmer, Cherie Bauman,            15   screen is 8:58 a.m.
16            Christie Locke, Gillian Arca,               16          My name is Gene Aronoff, and I am the
17            Sam, Teresa Pecce, Nancy Wojtas,            17   legal video specialist from the firm of Gradillas
18            and Ted Livingston; attached                18   Court Reporters, Inc. The court reporter today is
19            PowerPoint; USV0016091 - 6118               19   Michele Eddy, in association with Gradillas Court
20   SEC Exhibit 69 Email chain; most recent email 156    20   Reporters, Inc., located at 400 North Brand
21            dated 9-17-17 from Chris Cameron            21   Boulevard, Suite 950, Glendale, California.
22            to Peter Heinke;                            22          For the record, will counsel now please
23            KIK_00116494 - 6498                         23   introduce themselves and whom they represent.
24                                                        24          MR. MENDEL: David Mendel for plaintiff,
25                                                        25   United States Securities and Exchange Commission.

                          13                                                        15

 1         EXHIBIT INDEX CONTINUED                         1          MR. SCHLEGELMILCH: Stephan
 2                                                         2   Schlegelmilch for the Commission.
 3   No. Description                  Page                 3          MR. CADIGAN: Luke Cadigan for the
 4 SEC Exhibit 70 Email dated 10-30-17 from      160       4   defendant Kik Interactive.
 5          Brandon Brunet to Kik Board;                   5          MR. WELSH: Michael Welsh for Kik
 6          USV0015214;                                    6   Interactive.
 7          with attachment                                7          MR. ROY: Daniel Roy for Kik
 8          Bates 15221 - 5249                             8   Interactive.
 9 SEC Exhibit 71 Email chain; most recent email 192       9          THE VIDEOGRAPHER: Will the court
10          dated 12-14-17 from Chris Cameron             10   reporter please administer the oath.
11          to William Raduchel and Peter                 11                    ---
12          Heinke; WR-Kik-00000229 - 230                 12                 PETER HEINKE,
13                                                        13   having been duly sworn, testified as follows:
14                                                        14                  EXAMINATION
15                                                        15   BY MR. MENDEL:
16                                                        16       Q Good morning.
17                                                        17       A Good morning.
18                                                        18       Q Could you please state your full name
19                                                        19   and spell it.
20                                                        20       A Peter Heinke, H-E-I-N-K-E.
21                                                        21       Q And my name, as I mentioned, is David
22                                                        22   Mendel. I represent the SEC in a lawsuit against
23                                                        23   Kik Interactive, Inc., and this is a deposition
24                                                        24   pursuant to the Federal Rules of Civil Procedure
25                                                        25   in that action.

                          14                                                        16

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 1      A Yes.                                            1       A Yes, it was.
 2      Q This is what we call a Form 1662.               2       Q And those attorneys representing Kik, at
 3   That's in the lower left-hand corner of the          3   the time they also represented you personally; is
 4   document. Do you see SEC 1662 on it?                 4   that right?
 5      A In the corner, yes.                             5       A That's correct.
 6      Q Then going up to the first section at           6       Q Did the attorneys representing Kik
 7   the top of the first page, "False Statements and     7   attend all of your testimony on those days?
 8   Documents," this form provides warnings about not    8       A Yes, they did.
 9   being truthful during your testimony to the SEC,     9       Q During the testimony the attorneys for
10   right?                                              10   Kik gave you advice with regard to questions that
11      A Yes.                                           11   potentially involved the attorney-client
12      Q I'll take that back.                           12   privilege, right?
13          At the start of your investigative           13       A Yes, they did.
14   testimony back in September 2018, you swore an      14       Q And you followed that advice?
15   oath, correct?                                      15       A Yes, I did.
16      A Yes.                                           16       Q Do you remember, at the end of the
17      Q What did you understand the oath to            17   second day of testimony, being asked whether you
18   require you to do?                                  18   would like to clarify or add to any of your
19      A To tell the truth.                             19   answers?
20      Q That's what you did, right?                    20       A I believe so, yes.
21      A Yes, I did.                                    21       Q You answered that you didn't have
22      Q The SEC proceeded to ask you questions         22   anything, right?
23   during the testimony?                               23       A That's correct.
24      A Yes, they did.                                 24       Q Similarly, do you remember, at the end
25      Q And when you answered the SEC's                25   of the second day of testimony, that Kik's lawyers
                          21                                                       23

 1   questions, you told the truth?                       1   were asked whether they had any questions for you
 2       A Yes, I did.                                    2   at the time, right?
 3       Q On September 20th and 21st, 2018, did          3       A Yes.
 4   you tell the entire truth?                           4       Q Kik's lawyers responded that they did
 5       A Yes, I did.                                    5   not?
 6       Q Was there ever a moment during your            6       A That's what I recall, yes.
 7   testimony when you thought that you were not         7       Q Have you read any of the transcripts
 8   telling the truth?                                   8   from your investigative testimony?
 9       A No. As far as my recollection was at           9       A Yes, I went over them.
10   the time, I was telling the truth.                  10       Q When did you read them?
11       Q Very good.                                    11       A In the last week.
12           On September 20th and 21st, 2018, were      12       Q Did you read all of them?
13   you under the influence of drugs or alcohol?        13       A I went through most of the pages, yes.
14       A No, I wasn't.                                 14          (Plaintiff's Exhibit 21 and Plaintiff's
15       Q And there was a court reporter present,       15          Exhibit 22 were marked for
16   right, just like today?                             16          identification.)
17       A Yes, there was.                               17          MR. CADIGAN: Dave, we're still
18       Q And your testimony was videotaped, just       18   continuing to stipulate that all objections other
19   like today, correct?                                19   than as to form are reserved, right?
20       A Yes, it was.                                  20          MR. MENDEL: Yes.
21       Q That testimony in September of 2018,          21          MR. CADIGAN: Okay.
22   that was also attended by attorneys for Kik         22          Just, actually, for the record, that
23   Interactive, Inc., right?                           23   will pertain to all depositions going forward in
24       A Yes, it was.                                  24   this matter; is that right?
25       Q And that's the defendant in this case.        25          MR. MENDEL: Sure.

                          22                                                       24

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 1            MR. CADIGAN: So we don't have to keep        1        Q If I were to ask you the same questions
 2   putting it on the record.                             2   today that I asked you on September 20th -- I'll
 3            MR. MENDEL: Unless we say otherwise.         3   break that down.
 4            MR. CADIGAN: Yes, right, right, right.       4          If I were to ask you the same questions
 5            MR. MENDEL: Sounds good to me.               5   today that I asked you on September 20th, 2018,
 6   BY MR. MENDEL:                                        6   would you give the same answers?
 7        Q So I've provided you, Mr. Heinke, with         7          MR. CADIGAN: Objection.
 8   what's been marked as Exhibit 21 and 22. Exhibit      8        A Just as far as I could recall. I mean,
 9   21 indicates that it's a transcript of you on         9   it's been over a year ago so, I mean, there may be
10   September 20th, 2018, and Exhibit 22 reflects that   10   some nuances or changes to them, but in general,
11   it's a transcript from your testimony from           11   yes.
12   September 21st, 2018.                                12        Q Based on what you reviewed before your
13            Does that look right to you?                13   testimony, correct?
14        A Yes, it does.                                 14        A Right.
15        Q Do you recognize Exhibits 21 and 22 as        15        Q And based on what you can remember now?
16   transcripts that you reviewed in preparation for     16        A Yes.
17   your testimony today?                                17        Q Very well.
18        A Yes, I do.                                    18          The same question for the second day.
19        Q I'm sorry if I asked you this. How long       19   If I were to ask you the same questions today that
20   did you spend reviewing?                             20   I asked you on September 21st, 2018, your second
21        A I can't really recall. Probably about         21   day of testimony, would you give the same answers?
22   five, six hours.                                     22          MR. CADIGAN: Objection.
23        Q When you reviewed the transcripts, did        23        A Just as far as I can recall.
24   you notice anything in them that seemed incorrect?   24        Q Okay. Will you agree to treat your
25        A No. In general, they were pretty              25   transcript marked as Exhibit 21, right before you,

                          25                                                        27

 1   reflective of what the facts were.                    1   reflecting your testimony on September 20th, 2018,
 2       Q Did you notice any errors in the                2   as part of your sworn testimony today?
 3   transcription?                                        3          MR. CADIGAN: Objection.
 4       A Not -- no.                                      4       A Yes, I will.
 5       Q Did you notice any errors in what was           5       Q You have no reason to think it's
 6   actually said during the testimony by you or          6   inaccurate, correct?
 7   anyone else?                                          7       A No, I don't.
 8       A Not that I can recall.                          8       Q Will you agree to treat your testimony
 9       Q Nothing significant?                            9   transcript marked as Exhibit 22, reflecting your
10       A Nothing significant.                           10   testimony on September 21st, 2018, as part of your
11       Q Can you recall anything now from your          11   sworn testimony today?
12   testimony that you think is incorrect?               12          MR. CADIGAN: Objection.
13       A No, I can't recall any.                        13       A Yes, I will.
14       Q And you're not aware of any mistakes in        14       Q And there's nothing inaccurate that you
15   the transcripts now?                                 15   can think of, correct?
16       A Not upon reading it.                           16       A Not that I can recall.
17       Q So there's nothing you would like to           17       Q Will you agree to treat your videotaped
18   correct at this point?                               18   statements on September 20th and 21st, 2018,
19       A No.                                            19   during your testimony as part of your sworn
20       Q If I were to ask the same questions            20   testimony today?
21   today that I asked you on September 20th and 21st,   21          MR. CADIGAN: Objection.
22   2018, would you give the same answers?               22       A Yes, I will.
23          MR. CADIGAN: Objection. You can               23          MR. MENDEL: Can we go off the record,
24   answer.                                              24   please?
25       A Pardon?                                        25          MR. CADIGAN: Sure.

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 1           THE VIDEOGRAPHER: We're going off the         1      Q And my question is, to the best of your
 2   record. The time is 9:11 a.m.                         2   knowledge, were you shown all of the deposition
 3             (A brief recess was taken.)                 3   exhibits listed on Deposition Exhibit 66 during
 4           (Plaintiff's Exhibit 66 was marked for        4   your investigative testimony on September 20th and
 5           identification.)                              5   21st, 2018?
 6           THE VIDEOGRAPHER: Going back on the           6      A Yes. Sorry, can you repeat the
 7   record. The time is 9:44 a.m.                         7   question?
 8   BY MR. MENDEL:                                        8      Q To the best of your knowledge, were you
 9       Q Mr. Heinke, we just took a break, and           9   shown all of the deposition exhibits listed on
10   you met with your attorneys in a different room,     10   Deposition Exhibit 66, which you have right before
11   right?                                               11   you, during your investigative testimony in 2018?
12           During the break, I provided you with a      12      A I could recall some of them, but I
13   number of documents that were premarked as           13   couldn't recall all of them. Was that --
14   deposition exhibits, correct?                        14          MR. CADIGAN: You've answered -- just
15       A Correct.                                       15   answer the question.
16       Q The documents I gave you were marked,          16      A Yes.
17   and they're sitting right before you in the two      17          MR. CADIGAN: Wait, wait, wait.
18   files that I gave you. The documents were marked     18      A No. Sorry, I didn't recall all of them,
19   Deposition Exhibits 4, 6, 7, 10, 12, 16, and 23      19   no. Is that what you're asking?
20   through 65. Is that right? If you like, you can      20      Q Were you shown all those exhibits,
21   look at them right now.                              21   correct, during your investigative testimony?
22           Do you want me to repeat the numbers?        22   That's my question.
23       A Yes, what was it? Yes, please.                 23      A I couldn't recall all of them, no.
24       Q Sure. 4, 6, 7, 10, 12, 16, and then 23         24      Q Did you recall some of them?
25   through 65.                                          25      A I recalled some of them.

                          29                                                        31

 1      A Correct.                                         1       Q Did you think that you were not shown
 2      Q And I also gave you a document in the            2   any of them?
 3   form of a list that's been premarked as Deposition    3       A I don't believe so, but I don't recall
 4   Exhibit 66. Do you have that right before you?        4   them. It's over a year ago.
 5      A Yes, I do.                                       5       Q Okay. If we look at Deposition Exhibit
 6      Q It's a two-page list, correct?                   6   66, next --
 7      A Correct.                                         7           MR. CADIGAN: Actually, David, just at
 8      Q Is this a list of all the numbers of the         8   this point I just want to make it clear, because
 9   deposition exhibits that you were provided during     9   we said -- you know, we're willing to stipulate
10   the break?                                           10   that, again, subject to your representations and,
11      A Yes, it is.                                     11   you know, production of a certified copy of his
12      Q And the deposition exhibits on that             12   investigative testimony, that he made the
13   two-page list, those are also -- you can read with   13   statements that are reflected in whatever
14   me -- 4, 6, 7, 10, 12, 6 and 23 through 65?          14   certified transcript you were able to get and was
15         MR. CADIGAN: Wait a second. I think            15   shown the exhibits that would be attached to
16   you said that wrong.                                 16   whatever certified copy of the investigative
17      A Yes, you said that wrong.                       17   testimony you have, subject to, I'm sure, typos or
18      Q I did?                                          18   whatever.
19      A Yes.                                            19           MR. MENDEL: Fair enough. Thank you.
20      Q What did I say incorrectly?                     20   And I can represent that the exhibits that I
21      A You said 12, 6. It's 12, 16.                    21   provided him that I just went through, in terms of
22      Q Let me repeat it. Thank you.                    22   the numbers, were copies of the exhibits shown to
23         Deposition Exhibits 4, 6, 7, 10, 12, 16,       23   him during his testimony, and we'll endeavor to
24   and 23 through 65. Did I get that right?             24   get an additional certified copy.
25      A That's correct. Yes.                            25           MR. CADIGAN: Yes.

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 1   BY MR. MENDEL:                                        1           MR. CADIGAN: Can we -- just for the
 2       Q I'll just have a few more questions on          2   record, you're representing that the deposition
 3   this subject and then we can move on --               3   numbers that are reflected on the document Exhibit
 4       A Okay.                                           4   66 that you provided us correspond to the
 5       Q -- just to complete the record as best          5   investigative exhibits that he was shown reflected
 6   we can do it based on your memory of your             6   in column 2.
 7   testimony, okay?                                      7           MR. MENDEL: I am. That's my
 8       A Okay.                                           8   representation.
 9       Q So I just want to go back to Exhibit 66.        9           MR. CADIGAN: That's your
10   That's the list. Just for the record, if we look     10   representation.
11   at Exhibit 66, so on the first column it's           11           MR. MENDEL: Yes.
12   "Deposition Exhibit Number," right?                  12           MR. CADIGAN: I don't know. I mean, you
13       A Yes.                                           13   can obviously, you know, feel free to inquire as
14       Q And we just listed -- I just went over         14   to -- I mean, I think he's already indicated he
15   what was included there.                             15   didn't recall all of the deposition exhibits being
16          The second column immediately adjacent        16   shown to him during his investigative testimony.
17   is captioned "Investigation Exhibit Number"?         17   I'm not saying that he wasn't. He just doesn't
18       A Yes.                                           18   recall it as he sits here today.
19       Q Do you see that?                               19   BY MR. MENDEL:
20       A Yes.                                           20       Q All the exhibits that you were shown in
21       Q And is each deposition exhibit number          21   your investigative testimony, they had exhibit
22   also identified by an investigation exhibit          22   numbers on them, correct? They were labeled by
23   number?                                              23   numbers.
24       A Yes.                                           24       A When I was -- a year ago?
25       Q During your testimony, was each                25       Q Yes, correct, a year ago.
                          33                                                        35

 1   deposition exhibit listed on Exhibit 66 identified    1       A That's correct.
 2   by the investigative exhibit number in the            2       Q Okay.
 3   adjacent column?                                      3          Looking at Exhibit 66 now, and based on
 4      A Sorry, can you just repeat that? Was             4   the review you just performed of the exhibits
 5   every --                                              5   before you, are you aware of any errors in Exhibit
 6      Q Was every document -- during your                6   66?
 7   investigative testimony, was every document that's    7          MR. CADIGAN: Objection.
 8   now identified by an exhibit number --                8       A I don't know how I can comment on that
 9      A Right.                                           9   in that short a time, like to go through and --
10      Q -- was it also identified by the                10   are you saying, Dave, that I would reference each
11   corresponding investigation exhibit number, to the   11   one of these to the exhibit number?
12   extent you can remember?                             12       Q I'm just asking if you noticed any
13      A To the extent I can remember.                   13   errors when you looked at it just now.
14           MR. CADIGAN: Wait, wait, wait. I'm           14          MR. CADIGAN: Objection.
15   sorry.                                               15       A I don't know how I can --
16      A Are you saying, like, in section --             16       Q Did you see any mistakes?
17           MR. CADIGAN: Are you saying that the         17       A Well, I don't know if it was correct or
18   set you just provided him indicates both the         18   right or wrong. I can't recall, like, each one of
19   deposition number and the investigative testimony    19   these things here. I think that's -- I don't
20   number? Or are you saying a year ago when he was     20   know --
21   provided -- because clearly a year ago he wasn't     21       Q I understood you didn't -- understanding
22   provided documents that had deposition numbers on    22   that you didn't remember each document, did you
23   them.                                                23   notice any mistakes on Exhibit 66?
24           MR. MENDEL: Maybe it would be easier if      24          MR. CADIGAN: Objection.
25   I go --                                              25       A I didn't notice any mistakes, but I

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 1   didn't know if they were all correct either, so      1       Q In 2010, did you take the title of both
 2   that's --                                            2   chief financial officer and chief operating
 3      Q Okay, that's fine.                              3   officer?
 4      A Is that fine?                                   4       A Yes, I did.
 5      Q Sure.                                           5       Q For how long did you retain your chief
 6          So at this point let me take back this        6   financial officer role?
 7   group of exhibits.                                   7       A Right through until I left in June of
 8      A And this?                                       8   2018.
 9      Q Sure, I'll take that back.                      9       Q How long did you retain your chief
10          MR. CADIGAN: Do you want this here?          10   operating officer role?
11          MR. MENDEL: Yes, you can leave that          11       A I maintained that till -- I believe it
12   there.                                              12   was around April, May of 2018, if I recall
13   BY MR. MENDEL:                                      13   correctly.
14      Q Mr. Heinke, when did you first start           14       Q That's how long you kept your COO role?
15   working at Kik?                                     15       A Until then.
16      A Full time or -- because I started as a         16       Q In 2018?
17   consultant or advisory in 2009. Roughly, I met      17       A Sorry, 2017.
18   Ted the first time, I believe it was in March       18       Q April or May 2017, correct?
19   2009. And I worked with him for about a year and    19       A I believe so. I'm just trying to think.
20   a half in that capacity and then took a full-time   20   Yes.
21   position around November of 2010 -- November,       21       Q If you take Exhibit 21 and look at page
22   December 2010.                                      22   20, line -- it's page 20 on --
23      Q Before that were you working in the            23       A Sorry, okay.
24   healthcare sector?                                  24       Q -- the small square in the page. Let me
25      A Yes, I was.                                    25   know after you've looked at page 20.

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 1       Q When you first started to work in a            1       A Yes, April 2017, yes, that's correct.
 2   full-time capacity for Kik, what kind of company     2       Q Okay. You can put that down.
 3   was Kik?                                             3          I'll just refer to them as CFO and COO.
 4       A What do you mean, what kind of company?        4       A Okay.
 5       Q What was its main product?                     5       Q In these roles, to whom did you report?
 6       A It was a messaging product with -- it          6       A To Ted Livingston.
 7   would distribute music through a messenger.          7       Q Who was Mr. Livingston?
 8       Q Did that product evolve at all through         8       A Mr. Livingston was the CEO.
 9   2016?                                                9       Q Of Kik?
10       A Through 2016. Sorry.                          10       A Yes, he was.
11       Q You said it was a messenger product           11       Q As CFO, did you supervise Kik's
12   linked to music. Was that the product as it         12   accounting and finance functions?
13   existed through 2016, or did it evolve?             13       A Yes, I did.
14       A Oh, through 2016. No, it evolved.             14       Q During your time at Kik, did the company
15       Q But it was still essentially a messenger      15   establish facilities in Waterloo in Ontario,
16   service or application?                             16   Canada?
17       A Yes. Yes, it was.                             17       A Yes, it did.
18       Q When was Kik Messenger launched?              18       Q When did it do that?
19       A It was launched in a beta form in, I          19       A Ted, when I met him, was in Toronto. I
20   believe, April of 2010 and then it launched in a    20   believe he moved down to Waterloo in September
21   full production version in October, roughly, of     21   of -- around 2009 in the fall -- summer or fall of
22   2010.                                               22   that year.
23       Q By "beta," do you mean sort of a pilot        23       Q Did Kik establish offices in other
24   status?                                             24   cities?
25       A Correct.                                      25       A Yes, it did.

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 1       Q Which cities?                                  1      A Yes, it did.
 2       A It established an office in Toronto and        2      Q Did Kik Messenger have millions of
 3   in New York and in eventually Tel Aviv, and then     3   users?
 4   we had personnel working in San Francisco, in        4      A Yes, it did.
 5   L.A. -- or L.A., sorry. Not San Francisco.           5      Q Is it also fair to say that at least
 6       Q When did Kik establish the New York            6   before the middle of 2017, Kik had challenges in
 7   office?                                              7   making money from Kik Messenger?
 8       A I can't really recall. It would have           8      A Yes, it did.
 9   been --                                              9      Q Kik tried to make money off of Messenger
10       Q Was it before 2015?                           10   by working with something called points. Do I
11       A It may have been. I can't really recall       11   have that right?
12   exactly when that office started. We started in a   12      A That's correct.
13   WeWork facility, and then we established a          13      Q And Kik tried to make money by working
14   full-time office, but I can't really recall what    14   with something called Promoted Chats?
15   those years were.                                   15      A Yes, it did.
16       Q Was it in operation in 2017?                  16      Q As a result of these efforts, did Kik
17       A Yes, it was.                                  17   make significant revenue compared to expenses
18       Q For how many months in 2017?                  18   before 2017?
19       A I think it would have been the full year      19      A No, it didn't.
20   in 2017.                                            20      Q Is it correct that for the fiscal year
21       Q Approximately how many employees were in      21   ended June 30th, 2016, Kik's audited financial
22   the New York office?                                22   statements showed a comprehensive loss of
23       A It varied but --                              23   approximately $29 million?
24       Q In 2017.                                      24      A I would say approximately, yes.
25       A In 2017. Probably around ten.                 25      Q Is it correct that for the fiscal year

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 1       Q Did you also serve on Kik's Board of           1   ended June 30th, 2017, Kik's audited financial
 2   Directors?                                           2   statements show a comprehensive loss, after a tax
 3       A Yes, I did.                                    3   recovery, of approximately $16.9 million?
 4       Q When did you become a board member?            4       A That's probably correct.
 5       A When the A round was done, which would         5       Q Is it correct that for the fiscal year
 6   have been around -- that would have been December    6   ended June 30th, 2017, before the tax recovery is
 7   of 2010.                                             7   factored in, the statements show that Kik lost
 8       Q When you say "A round," is that a form         8   approximately $32.8 million?
 9   of financing?                                        9       A I would have to see the statement for
10       A Yes.                                          10   the exact number if you've got it there, but I
11       Q That's a sale of stock to investors?          11   think that's probably roughly correct.
12       A Yes, it is.                                   12          (Plaintiff's Exhibit 26 and Plaintiff's
13       Q While at Kik, did you own Kik stock?          13          Exhibit 27 were marked for
14       A Yes, I did -- yes, I did.                     14          identification.)
15       Q As of the end of 2016, approximately how      15   BY MR. MENDEL:
16   many shares did you own?                            16       Q I'm showing you what's been previously
17       A I don't know the number of shares. It         17   marked as 26 and 27. Those are Deposition
18   would have been around anywhere from 3 to           18   Exhibits 26 and 27.
19   4 percent of the company. I think -- sorry, I'll    19          MR. SCHLEGELMILCH: Actually they're in
20   take that back. It was probably about a million     20   the binders.
21   shares.                                             21          MR. MENDEL: They're in the binders, and
22       Q That was 3 or 4 percent of the company?       22   counsel should all have copies.
23       A Yes.                                          23          MR. SCHLEGELMILCH: Yes, they do.
24       Q Is it fair to say that Kik had some           24       A So to your question in 2017 of a loss
25   success with Kik Messenger?                         25   before tax recovery, there was a loss of

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 1   $32,887,544.                                          1       Q Which investment bank was that?
 2       Q What exhibit are you looking at?                2       A Credit Suisse.
 3       A I'm looking at Exhibit 27.                      3       Q And did Credit Suisse contact a number
 4       Q Does Exhibit 27 appear to be the audited        4   of other businesses to see if they had an
 5   financial statement for Kik for the fiscal year       5   interest?
 6   ending June 30th, 2017?                               6       A Yes, they did.
 7       A Yes, it does.                                   7       Q Of the businesses contacted, none of
 8       Q Same question for Exhibit 26. Is that           8   them were interested in buying Kik at that time,
 9   Kik's audited financial statement for the fiscal      9   correct?
10   year ended June 30th, 2016?                          10       A At that time, no.
11       A Yes, it is.                                    11       Q And Kik decided to take a break from
12       Q Kik does business in U.S. dollars?             12   that process to look at other options for its
13       A Yes, it does.                                  13   business plan; is that right?
14       Q Did both audited financial statements          14       A Yes, it did.
15   for the years 2016 and 2017 fairly reflect Kik's     15       Q Around this time at the end of 2016,
16   financial results for those years?                   16   early 2017, after the Credit Suisse process -- the
17       A Yes, they did.                                 17   Credit Suisse process had been implemented and
18       Q I'll take 26 and 27 back, please.              18   tried, did Mr. Livingston, Kik's CEO, did he start
19          In late 2016, early 2017, was Kik             19   to raise internally the possibility of issuing a
20   struggling with growing the numbers of its users     20   cryptocurrency?
21   of Kik Messenger?                                    21       A Yes, he did.
22       A Yes. They were not increasing. They            22          (Plaintiff's Exhibit 28 was marked
23   were declining.                                      23          for identification.)
24       Q This was recognized within the company,        24   BY MR. MENDEL:
25   correct?                                             25       Q I'm showing you what's been marked
                          45                                                        47

 1       A Yes, it was.                                    1   Deposition Exhibit 28.
 2       Q In late 2016 and early 2017, was Kik            2          MR. MENDEL: Luke, I have one more
 3   struggling to find a way to monetize Kik              3   binder. Do you want one?
 4   Messenger?                                            4          MR. CADIGAN: That's fine. Thank you.
 5       A We were looking at different options to         5   BY MR. MENDEL:
 6   monetize the Messenger.                               6      Q Mr. Heinke, do you recognize Deposition
 7       Q Would you state that you were                   7   Exhibit 28?
 8   struggling -- not you personally, but was Kik, the    8      A Yes, I do.
 9   company, struggling to find a way to monetize Kik     9      Q For the record, this was marked
10   Messenger?                                           10   previously as an Exhibit 12B. That's on the first
11       A I don't know if I would use the word           11   page. Do you see that?
12   "struggling." Every start-up looks to different      12      A Yes, I do.
13   models to monetize, and so we were trying to         13      Q What is Exhibit 28?
14   evaluate which the best one would be.                14      A It's the deck for the board meeting.
15       Q Was there any significant revenue to           15      Q Which board meeting?
16   speak of?                                            16      A Of -- I think there's a date here, is
17       A No, there wasn't.                              17   there not?
18       Q Had any of the strategies up until then        18      Q Let's -- go ahead.
19   for monetizing Kik Messenger, had they proved        19      A It says February 1st, 2017.
20   successful?                                          20      Q There's a cover page, right? The first
21       A No, they hadn't.                               21   page of Exhibit 28 is an email from Mr. Livingston
22       Q In 2016, did Kik engage an investment          22   to Kik Board, correct?
23   bank to look to see if there were other businesses   23      A That's correct.
24   that were interested in buying Kik?                  24      Q You were a member of the Board at the
25       A Yes, they did.                                 25   time, right?

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 1      A Yes, I was.                                      1       A Yes, it is.
 2      Q So you received this?                            2       Q And then the following pages ending in
 3      A Yes, I did.                                      3   numbers 5718, 5719, 5720, 5721, and 5722, those
 4      Q And Mr. Livingston writes in his email,          4   all show different metrics declining?
 5   attaching the board presentation -- I'll read it      5       A Yes, they do.
 6   out loud -- "With no bids coming out of the           6       Q The first one is "Daily average users
 7   process and a continued decline in our metrics, we    7   continues to decline," and there's a chart showing
 8   are in a precarious position to say the least.        8   a downward trend?
 9   Therefore, I would like to spend the majority of      9       A Yes, it does.
10   the meeting discussing the options to extend our     10       Q The next page is "Monthly average users
11   runway."                                             11   continues to decline"; is that right?
12          Did I read that correctly?                    12       A Yes.
13      A That's correct.                                 13       Q Then the next page is -- I'm on 5720 --
14      Q He sent that to the Board?                      14   DAU/MAU continues to decline." Is that a
15      A Yes, he did.                                    15   composite metric?
16      Q Was it common practice to circulate a           16       A Yes.
17   set of slides to the Board of Directors before       17       Q DAU is daily average users, and MAU is
18   board meetings?                                      18   monthly average users, correct?
19      A Yes, it was.                                    19       A That is correct.
20      Q Were you typically responsible for              20       Q 5721, "Activation continues to decline,"
21   portions of these board decks?                       21   correct?
22      A Yes, I was.                                     22       A Correct.
23      Q Did you take care of the financial and          23       Q The last one is "Retention continues to
24   administrative elements of the board decks?          24   decline," correct?
25      A Yes, I did.                                     25       A Yes.
                          49                                                        51

 1      Q Did Mr. Livingston typically review the          1       Q These metrics came from Kik's data team;
 2   entire decks before they were circulated?             2   is that right?
 3      A Yes, he did.                                     3       A That is correct.
 4      Q Would the chairman of the Board                  4       Q You believe them to be correct?
 5   sometimes also review them as well?                   5       A I do believe them to be correct.
 6      A Yes, he would.                                   6       Q Can you turn to page 5739.
 7      Q Was that Sam Spadafora?                          7       A Okay.
 8      A Yes, that is.                                    8       Q This is an introductory slide saying
 9      Q Within Exhibit 28, if you could, do you          9   "extending runway" -- "extending runway," correct?
10   see the small numbers on the lower right-hand        10       A Correct.
11   corner ending in -- well, it says                    11       Q What is runway?
12   KIK_FOUNDATION_CAP_, and then there's a string of    12       A Runway is the length of time a company
13   numbers. Do you see that?                            13   normally has cash flow to operate.
14      A Yes.                                            14       Q Is it cash flow or the amount of cash,
15      Q I might refer to those as Bates numbers.        15   sort of, it has to operate?
16          Can you turn to the pages -- turn to the      16       A It can be -- it would be cash it has and
17   page ending in 5717.                                 17   then cash -- any cash it generates during the
18          Are you there?                                18   period.
19      A Yes.                                            19       Q Basically, it's a projected life span.
20      Q That page is just an introductory slide         20       A Exactly. You could say that.
21   that says, "Our metrics continue to decline,"        21       Q It's true, is it not, that the board
22   correct?                                             22   members consistently requested that you provide
23      A Correct.                                        23   runway information in your presentations in 2017?
24      Q This is the deck for the board meeting          24       A It's a fairly standard piece of
25   on February 1st, 2017?                               25   information that every start-up normally asks for

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 1   for the Board.                                        1   terms of reducing the amount of runway than having
 2       Q And did Kik still consider itself a             2   it extend out farther.
 3   start-up?                                             3       Q Fair enough.
 4       A Yes.                                            4          3.1 million current burn, is that a
 5       Q One board member in particular was              5   monthly burn rate?
 6   concerned about cutting back expenses; is that        6       A Yes.
 7   right?                                                7       Q Looking at Exhibit 28 now, do you have
 8       A That's correct.                                 8   any memory of looking at this same document during
 9          MR. CADIGAN: Objection.                        9   your investigative testimony last year in 2018?
10       Q You can answer.                                10       A I don't recall offhand, but I assume it
11       A Paul Holland.                                  11   was there, presented.
12       Q He was focused on cutting expenses?            12       Q At the February 1 meeting of the Board,
13       A Yes, he was.                                   13   did the Board discuss existing runway?
14       Q He was particularly interested in the          14       A Yes, it did.
15   runway slides?                                       15       Q During this discussion, did the Board
16       A Yes.                                           16   debate whether to cut expenses as a way to extend
17       Q But it's fair to say that the runway was       17   runway?
18   important to the entire Board, correct?              18       A I would say we discussed it.
19       A Correct.                                       19       Q Cutting expenses would have meant laying
20       Q And it was important to you.                   20   off employees?
21       A Yes, it was.                                   21       A Yes, it would include laying off. It
22       Q Can you turn to page ending in 5740.           22   wouldn't be the only thing we would look at.
23   This is another slide.                               23       Q You would consider a range of options,
24          It says at the top "Where are we now,"        24   right?
25   correct?                                             25       A Yes.

                          53                                                        55

 1       A That's correct.                                 1       Q Can you turn to the page ending in 5741.
 2       Q And then I'm going to read from the             2   It says, "What are our options?" I think you just
 3   slide. Under that caption it says, "Current           3   went right by it. 5741.
 4   Situation," bullet, "26 million in cash," bullet,     4       A This one? Yes.
 5   "3.1 million current burn," and then third bullet,    5       Q Okay. And then that introduces the next
 6   "Runway to September 5th, 2017."                      6   section of this presentation?
 7          Did this accurately reflect Kik's              7       A That's correct.
 8   financial situation at the time?                      8       Q And then if we skip ahead -- these pages
 9       A I'm not really sure because I saw in            9   discuss what the Board was considering, the
10   some documents we had at that time that I think we   10   different types of things, steps it could take,
11   extended runway until the end of November.           11   correct?
12       Q Okay.                                          12       A Yes, it is.
13       A So ...                                         13       Q All right. So, can you flip to 5747.
14       Q But as of February 1st, do you have any        14   At the top of the page there it says, "Investment
15   reason to think this wasn't Kik's financial          15   Alternatives," right?
16   situation?                                           16       A Yes.
17       A No, that's probably around accurate,           17       Q And these are different investment
18   within a month or two.                               18   options that Kik was considering?
19       Q It wouldn't have been your practice to         19       A Yes, it is.
20   include incorrect information to the Board, would    20       Q These would be investments into the
21   it?                                                  21   company, correct?
22       A No, we would show conservative                 22       A I don't think they would -- they would
23   information, though.                                 23   be investments in the company. I think
24       Q What do you mean by "conservative"?            24   cryptocurrency was discussed at that time as being
25       A That we would be more aggressive in            25   more a business model aspect, not necessarily an

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 1   investment.                                           1      A Yes, it was.
 2       Q But it's listed under "Investment" --           2      Q And cryptocurrency was also a -- it
 3       A Yes.                                            3   would have been a large pivot in Kik's business
 4       Q -- "alternatives" here, correct?                4   model; isn't that right?
 5       A Correct.                                        5      A He has it defined as that. I wouldn't
 6       Q All right. And that's -- you just               6   state that, looking in retrospect now, because
 7   mentioned cryptocurrency. That's the fifth bullet     7   what we did was we had Kik Points and we had an
 8   down. There's five bullets, and cryptocurrency is     8   ecosystem formed. And all we were doing was
 9   the fifth one, right?                                 9   replacing the Kik Points with the cryptocurrency,
10       A That's correct.                                10   which had, you know, broader ability to have usage
11       Q Let's go to page 5752.                         11   outside of what we were using Kik Points for.
12           Here is a page with "Cryptocurrency" at      12      Q You said "he." Did someone else write
13   the top, correct?                                    13   these words "Large pivot in business model"?
14       A That's correct.                                14      A I think those -- I don't recall who
15       Q This is just discussing the                    15   prepared these slides, but it would have been -- I
16   cryptocurrency option?                               16   don't know -- it could have been either Derek,
17       A Yes.                                           17   Tanner, Ted, or myself.
18       Q And you have "Current Status." It says,        18      Q Mr. Livingston would have reviewed this
19   "Consider launching a new cryptocurrency called      19   before it went to the Board, correct?
20   'Kik Coins.'"                                        20      A Yes.
21           Was that the option being considered?        21      Q Was this meeting the first time that the
22       A Yes.                                           22   Board substantively discussed starting a new
23       Q And then below there's a couple                23   cryptocurrency?
24   additional bullets, and then it says, "Key           24      A I think it's the first time the Board
25   Considerations," and there's a "Pros" column and a   25   probably looked at cryptocurrency, but Ted had
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 1   "Cons" column. Under the "Pros" column, there is      1   been involved in looking at Bitcoin and other
 2   another bullet that says, "New way to raise funds     2   currencies since, I think, 2011.
 3   that is in vogue"; is that right"?                    3       Q Right. But this is the first time that
 4       A Correct.                                        4   the Board was sitting down and thinking about it
 5       Q And in the "Cons" column it says, "Large        5   in sort of a sustained way?
 6   pivot in business model"; is that right?              6       A Yes.
 7       A Yes.                                            7       Q What happened as a result of this
 8       Q The Board at this meeting discussed             8   meeting with respect to cryptocurrency -- the
 9   cryptocurrency as a new way to raise funds; isn't     9   cryptocurrency idea?
10   that right?                                          10       A I believe at this meeting it was
11       A I think that was one aspect of it. If          11   discussed that we should continue and investigate
12   you look at the second point under "Pros" that you   12   it as an option for a business model.
13   didn't mention, was that it's an "Immediate value    13       Q Did Kik's management receive approval to
14   exchange on Kik to power transactions."              14   look further at the option of cryptocurrency?
15       Q Okay. So is both of them including a           15       A Yes.
16   way to raise funds, correct?                         16       Q Were they instructed to go and consider
17       A No. One is a business model aspect, and        17   the option in a more sustained way?
18   one is -- when you say "raise funds," I mean, my     18       A Yes, they were.
19   looking at Kik Points, and as reflected in our       19       Q I'll take that exhibit back from you.
20   financial statements, it was a sale of a product.    20          (Plaintiff's Exhibit 29 was marked for
21   So that's a way of getting funds into the            21          identification.)
22   business. If you want to -- that's how I look at     22   BY MR. MENDEL:
23   it.                                                  23       Q Mr. Heinke, I'm giving you what's been
24       Q Cryptocurrency was an option for               24   marked Deposition Exhibit 29. Take a moment to
25   extending Kik's runway, was it not?                  25   look at it.

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 1          So 29 is an email chain, correct?             1           (Plaintiff's Exhibit 4 was marked for
 2       A Yes.                                           2           identification.)
 3       Q At the top it's -- the most recent             3   BY MR. MENDEL:
 4   email, it's from you, Peter Heinke, to Ted           4       Q I'm giving you what's being marked
 5   Livingston on February 3rd, 2017?                    5   Deposition Exhibit 4. For the record, the
 6       A Yes.                                           6   Investigation Exhibit 14A.
 7       Q So this is a few days after the board          7           Exhibit 14A -- I'm sorry, Exhibit 4,
 8   meeting that we just talked about, right?            8   this is another deck presentation for a board
 9       A Yes.                                           9   meeting, right?
10       Q You're responding to an email from            10       A Yes, it is.
11   Mr. Livingston, right?                              11       Q This meeting is on February 16th, 2017?
12       A Yes.                                          12       A Yes, it is.
13       Q And Mr. Livingston is forwarding an           13       Q This was about three weeks after the
14   email written to him from Jim Estill. Is that a     14   prior board meeting when the idea of the
15   board member?                                       15   cryptocurrency was first substantively discussed?
16       A Yes, it is.                                   16       A Yes, it is.
17       Q So Mr. Estill had written his email on        17       Q Mr. Livingston and other executives are
18   February 2nd, the day before 2017.                  18   providing the Board a follow-up to the issues you
19       A Yes.                                          19   had discussed, right?
20       Q And one of his ideas was to prepare four      20       A Yes, it is.
21   to five slides on the cryptocurrency idea for the   21       Q On cryptocurrency.
22   rest of the Board, right?                           22           If you turn to page ending in 6542.
23       A Yes.                                          23   This says, "Agenda," right? Are you there?
24       Q And Mr. Livingston forwarded it to you        24       A These numbers are pretty small.
25   on February 3rd, and then you responded on          25       Q They are pretty small.
                          61                                                       63

 1   February 3rd, "I agree, why I am having Tanner       1      A 36?
 2   make up the slides that if you looked at this as     2      Q Slide 2. Maybe that's it. Just turn
 3   an investment - will provide the framework,"         3   the page.
 4   right? That's what he wrote?                         4      A This one? I'm sorry.
 5       A I see that written, yes.                       5      Q Do you see that?
 6       Q Then you wrote, "There are nuances here        6      A Yes.
 7   that you have to consider also from a securities     7      Q Slide 2, "Agenda"?
 8   law standpoint," right?                              8      A Yes, I do.
 9       A Yes.                                           9      Q It's just three enumerated items,
10       Q This reflected your view that creating a      10   "Process update, Ted"; "The potential for an ICO,
11   cryptocurrency could raise securities law issues,   11   Erin"; and, 3, "The potential for growth, Eran."
12   correct?                                            12          Ted, that's Ted Livingston. Erin is
13       A When you say my view, I would -- like         13   Erin Clift?
14   anything, I would look at this as to what the       14      A Correct.
15   different implications were from a regulatory       15      Q And she was the chief marketing officer?
16   standpoint, whether it would be for security or     16      A Correct.
17   for -- because we looked a lot also at Kik cash.    17      Q And Eran was Eran Ben-Ari, right?
18   So there were all sorts of rules to consider at     18      A Correct.
19   that point in time.                                 19      Q Chief product officer?
20       Q And securities laws were among the rules      20      A Yes.
21   you were all looking at.                            21      Q And you all reported to Ted Livingston,
22       A Yes.                                          22   the CEO, right?
23       Q I'll take that back.                          23      A That's correct.
24           Can you look in your -- I have it.          24      Q Then go to 6455.
25   Never mind.                                         25          Again, kind of hard to read, but it

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 1   says, "Kik in the blockchain." Are you there?         1       A I believe CoinFund was one of the
 2       A Yes, okay.                                      2   companies at that time -- I'm just trying to think
 3       Q You're at that slide. This starts a             3   of timing-wise -- that we had engaged to
 4   discussion of the cryptocurrency, right?              4   understand the whole blockchain environment
 5       A Right.                                          5   better.
 6       Q Okay. And then, slide 11, ending in             6       Q Can you turn to page ending in 471.
 7   461, let me know if you're there.                     7          This is under the section "Next Steps."
 8       A Yes.                                            8   It was the prior page, right?
 9       Q This is a slide with a blockchain               9       A This is -- this one?
10   insignia or a circle in the middle of the page,      10       Q Correct. You're on the right page. If
11   right?                                               11   you flip back a page, it's under the section "Next
12       A Correct.                                       12   Steps."
13       Q And below, it says, "We believe that the       13       A Got it.
14   scale of our network alone will drive strong         14       Q Okay.
15   interest from the cryptoinvestor community,"         15          This says, "Three weeks to gauge
16   correct?                                             16   preliminary investor interest," right?
17       A Correct.                                       17       A Correct.
18       Q Was this Ms. Clift's portion of the            18       Q And this is still talking about
19   presentation?                                        19   cryptocurrency?
20       A I can't recall that.                           20       A It is.
21       Q Was it yours?                                  21       Q And there's four steps listed
22       A No, I don't think I presented -- if you        22   immediately below, and next to those four steps it
23   looked at the beginning, the agenda suggested that   23   says, "CoinFund"?
24   I wasn't. It was Ted --                              24       A Yes.
25       Q It was Mr. Livingston --                       25       Q Under each -- next to each of the four
                          65                                                        67

 1       A -- Eran and/or Erin.                            1   steps, it says either one or two weeks?
 2       Q Erin. Do you think Erin or Eran would           2       A Yes.
 3   have done this?                                       3       Q These were all tasks assigned to
 4       A Probably.                                       4   CoinFund for going forward?
 5       Q Did the Board discuss this statement?           5       A I believe so, yes.
 6       A Yes.                                            6       Q And the second step, the description is
 7       Q Then if you turn to page 46 -- ending in        7   "Market fit between Kik and cryptoinvestors,"
 8   463. That states at the top, "Crowdfunders have       8   right?
 9   strong appetites for exploration," right?             9       A Correct.
10       A Correct.                                       10       Q Did Kik go ahead and take some
11       Q And below -- right below that, on the          11   additional weeks to gauge preliminary investor
12   left side, there is a large circle. It says,         12   interest?
13   "68 percent," and then next to it, "Would invest     13       A Take additional weeks? I believe so.
14   in a tradeable -- tradeable digital tokens of a      14   This is a period of time when we were still
15   non-blockchain company if offered good risk-reward   15   integrating Rounds of Israel. So I was heavily
16   potential."                                          16   involved with Rounds and still doing the
17           Is that what it says?                        17   acquisition there so the marketing research and
18       A Yes.                                           18   all this sort of stuff was handled by Erin and her
19       Q And Kik considered itself a                    19   team during this time.
20   non-blockchain company at the time?                  20       Q Just so we understand, Rounds was an
21       A I believe so, yes.                             21   acquisition Kik was involved in?
22       Q Did this observation come from another         22       A Yes. We had in December of 2016
23   company called CoinFund?                             23   purchased Rounds, which was a video-based
24       A Yes.                                           24   messaging company in Tel Aviv. So we acquired it
25       Q How do you know that?                          25   for both the technology and for the people that

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 1   were in that company.                                 1   Deposition Exhibits 6 and 30.
 2       Q Going back to this slide in the exhibit,        2       A Uh-hmm.
 3   where it says, "Three weeks to gauge preliminary      3       Q Just for the record, the one that says
 4   investor interest," that was sort of on a             4   6, that also has the Investigation Exhibit No. 39
 5   going-forward basis for next steps, right?            5   on it, right?
 6       A I would assume so.                              6       A Correct.
 7       Q You would assume so because it's in the         7       Q And the one that says Deposition Exhibit
 8   "Next Steps" section?                                 8   30, that says Investigative Exhibit 170?
 9       A Yes.                                            9       A Yes.
10       Q Is it fair to say at this stage that not       10       Q Great.
11   all the board members were enthusiastic about the    11           So going to, first, the one that says 6,
12   crypto idea?                                         12   is this a report that CoinFund delivered to Kik?
13          MR. CADIGAN: Objection.                       13       A Yes, it is.
14       A I can't conjecture that. I mean,               14       Q It has a date of March 21st, 2017?
15   Paul's -- as you identified earlier, Paul's          15   That's when they delivered it?
16   objections were more about reducing cash flow, and   16       A That's correct.
17   a lot of them, it was new to them also. I            17       Q You received the report, right?
18   wouldn't say there was -- I can't recall there was   18       A Yes, I did.
19   a major negative reaction to it.                     19       Q You reviewed it?
20       Q Mr. Holland was concerned about                20       A At the time, yes.
21   expenses?                                            21       Q Did this report provide information that
22       A He was --                                      22   Kik had asked for about a cryptocurrency?
23          MR. CADIGAN: Objection. I'm sorry.            23       A Yes, it did.
24       Q Your understanding.                            24       Q If you look at Exhibit 30 for a second,
25       A It was --                                      25   please. At the top it says, "Review of CoinFund

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 1       Q That was your understanding?                    1   Deliverable."
 2       A My understanding was he was more                2           This is an internal Kik document, right?
 3   concerned about expenses, yes.                        3      A Yes, it is.
 4       Q Was it your understanding that he was           4      Q A summary of notes?
 5   proposing to cut down -- cut Kik to about 50 to 60    5      A Yes.
 6   employees?                                            6      Q It's dated March 22nd, 2017, right?
 7       A That is what he suggested, yes.                 7      A Correct.
 8       Q I'll take that back.                            8      Q What is this?
 9          Did Kik hire CoinFund to help the              9      A It's a review of CoinFund deliverable.
10   company assess the idea of a digital token?          10   So it was to the management team, it looks like.
11       A I don't know if that was a specific            11      Q You're listed as an attendee, right?
12   thing -- we didn't have a -- we did to hire them     12      A That's correct.
13   to help us out with that.                            13      Q Erin Clift is listed here, too, right?
14       Q And they were hired to help with the           14      A Yes, she is.
15   four steps we just read about?                       15      Q And so is Mr. Ben-Ari?
16       A Yes, I believe so.                             16      A That's correct.
17       Q Did you have responsibility for                17      Q So going back to 6 -- Exhibit 6, excuse
18   negotiating the arrangement with CoinFund?           18   me. And can you go to page 9 of Exhibit 6.
19       A I did -- I did, yes.                           19           Are you there?
20       Q You did, okay.                                 20      A Yes.
21          (Plaintiff's Exhibit 6 and Plaintiff's        21      Q This is identified by the Bates number
22          Exhibit 30 were marked for                    22   as 7699 in the lower right corner. So on this
23          identification.)                              23   page what we see are examples of tokens -- digital
24   BY MR. MENDEL:                                       24   tokens that were in the market at the time; is
25       Q So I've given you what's been marked           25   that right?

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 1       A Correct.                                        1         Q And then there's three -- three findings
 2       Q That's what your understanding was?             2   below that, and it says, number 1, "19.3 percent
 3       A That's correct.                                 3   would forego participation"?
 4       Q And at the bottom of the page, it               4         A Yes.
 5   says -- this is CoinFund speaking -- actually, if     5         Q And the second one says, "48.4 percent
 6   you could, go back a page, to page 7. It says --      6   lean toward being investors only (with
 7   it starts the section called "Notable Token           7   21.5 percent being speculators)," right?
 8   Sales." Then at the bottom of the page, "The          8         A Yes.
 9   following outlines some observations about the        9         Q These were findings that CoinFund
10   token sales space."                                  10   reported to Kik?
11           Are you with me?                             11         A Yes.
12       A Yes.                                           12         Q I'll take back Exhibit 6, please, and
13       Q It says, "The investment space is              13   I'll take back the other one, too. Thank you.
14   extremely hot," right?                               14           (Plaintiff's Exhibit 33 was marked for
15       A Yes.                                           15           identification.)
16       Q And "All of the tokens mentioned here          16   BY MR. MENDEL:
17   have generated returns at the time of the writing,   17         Q I'm giving you what's been marked
18   as measured on a U.S. dollars basis," right?         18   Exhibit 33.
19       A Yes.                                           19         A Okay.
20       Q And the average return multiple is 15          20         Q For the record, this was marked
21   times --                                             21   previously as Exhibit 54 in the investigation,
22       A Yes.                                           22   right?
23       Q -- or 15X. They say that and underline         23         A Yes.
24   it?                                                  24         Q And this is an email from Jake Brukhman
25       A That's correct.                                25   to you on April 3rd, 2017?

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 1       Q This is all from CoinFund, right?               1       A Correct.
 2       A Yes.                                            2       Q Who is Mr. Brukhman?
 3       Q Could you go to page 19.                        3       A He was the principal of CoinFund. I
 4          It says at the top, "CoinFund                  4   believe he was -- I think they're a partnership so
 5   Cryptoinvestor Survey," right?                        5   I think he was one of the partners.
 6       A That's correct.                                 6       Q The email is to you, Hayeon Kim -- she's
 7       Q And then "Methodology." I'm just going          7   at Kik, right?
 8   to read from it. "Working together with the Kik       8       A Yes.
 9   team, CoinFund conducted a public and an open         9       Q -- Erin Clift, and then there's an email
10   source survey in the blockchain research and         10   address that says, "Core Team," right?
11   investment community, targeting the set of people    11       A Yes.
12   who are knowledgeable and experienced in issues      12       Q Does exhibit -- well, I should say,
13   surrounding blockchain-based decentralized           13   behind the email there's an attachment, right?
14   crowdfunding and known as 'cryptoinvestors.'"        14   And it's "CoinFund Additional Research"?
15          You understood that -- I'll stop there,       15       A Yes.
16   reading there. You understood CoinFund was           16       Q So this is a supplemental report from
17   conducting a survey?                                 17   CoinFund?
18       A Yes, based on this report.                     18       A Yes.
19       Q If you could, go to page 25 of the             19       Q Dated April 3rd, 2017, right?
20   CoinFund report.                                     20       A Yes.
21          Ending in Bates number 7715, it says --       21       Q Does this respond to questions that you
22   there's a section called "User vs. Investor          22   had raised?
23   Interest."                                           23       A I take it from this, yes.
24          Do you see that?                              24       Q Why do you say that?
25       A Yes.                                           25       A Because it says, "Questions from Peter."

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 1      Q 3-23, March -- it's fair to say those           1           That's a definition that CoinFund
 2   were March 23rd questions from you?                  2   provided, right?
 3      A Yes.                                            3       A That's correct.
 4      Q What generated your questions?                  4       Q That didn't match your understanding at
 5      A What generated my questions?                    5   the time?
 6      Q Yes.                                            6       A I can't recall at the time. We ended up
 7      A I was learning -- trying to learn more          7   splitting them up between those people that we
 8   about cryptocurrency and what was involved in it.    8   reviewed more as sort of like what, I guess, he
 9   So it was -- as I said, like, I just became aware    9   would define as cryptoinvestors and those people
10   more about it at the board meeting. I didn't        10   that we defined as participants in the ecosystem.
11   understand a lot about cryptocurrency at that       11           The nomenclature evolved over -- this is
12   time. So this is more still education for me at     12   going back -- this is very early in the process.
13   that time.                                          13   This is back in March.
14      Q Were some of the questions generated --        14       Q At this point in time, is it fair to say
15   or did they occur to you from reviewing the prior   15   that Kik was considering a sale that would include
16   report?                                             16   all of those groups?
17      A The prior report and just outside              17       A I can't recall when exactly at this
18   industry information, what I was reading about.     18   point in time, whether we were doing it as one
19      Q If you look at page 855 -- I think             19   complete sale or two sales.
20   you're already on it. Actually, if you go back.     20       Q Can you go to page 857?
21      A Yes.                                           21       A Yes.
22      Q There's a diagram with the title "Token        22       Q It says, "Regulatory Bodies" at the top?
23   Sale Participants" at the top there.                23       A That's correct.
24          Do you see that?                             24       Q This is still CoinFund responding to
25      A Yes.                                           25   your questions; is that right?
                          77                                                       79

 1       Q There's a reference to -- in the diagram       1       A That's correct.
 2   itself, you have, "private investor" and to the      2       Q There's a section that says, "FinCEN,
 3   right, "cryptoinvestor."                             3   Department of Treasury." Do you see that?
 4       A Yes.                                           4       A That's correct.
 5       Q You understood "cryptoinvestor" to refer       5       Q Below that it says, "SEC," right?
 6   to people who would buy tokens through a public      6       A That's correct.
 7   sale; is that right?                                 7       Q This is CoinFund responding to your
 8       A No, I didn't understand that at that           8   questions about SEC?
 9   time.                                                9       A Yes.
10       Q What did you understand cryptoinvestors       10       Q They say, first, under little a., "The
11   to refer to?                                        11   SEC has yet given no guidance that any particular
12       A We -- well, I can't really recall going       12   token offering is a security, and this guidance is
13   over -- but this was very early in the process,     13   not expected in the near future," correct?
14   and I can't recall when exactly we started          14       A That's correct.
15   splitting out those people that we referred to as   15       Q And then b., "The SEC would potentially
16   capitalists in the white paper or participants,     16   apply the Howey test to determine if the sale of
17   and I'm not sure exactly what the timing was of     17   such tokens would constitute an investment
18   that.                                               18   contract," right?
19       Q The next page, if you just go to the          19       A Correct.
20   next page at the top --                             20       Q And then it also says, "Some companies,
21       A Yes.                                          21   in an effort to defensibly avoid this
22       Q -- it states, "Cryptoinvestors," in           22   classification altogether, have structured their
23   quotes, "include regular participants of token      23   offering outside of the U.S. and block U.S.
24   sales as well as Kik users who are participating    24   users," right?
25   in the sale by way of cryptocurrency."              25       A That's correct.

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 1       Q Did Kik later do this step when it              1      Q And CoinFund advised you, again, not in
 2   issued a Kin tokens?                                  2   the legal way, but that the SEC could employ the
 3       A I think we changed path quite a lot from        3   Howey test, right?
 4   whether -- like, as I said, we viewed this fairly     4      A That's what they said, yes, in this
 5   early on as being a currency. We were taking Kik      5   document.
 6   Points and replacing it with Kin.                     6      Q By this time had Kik hired a general
 7           So, as such, my concern was more with         7   counsel?
 8   relationship to viewing it as a currency, so          8      A Yes, we had general counsel.
 9   things like FinCEN, which we registered for at the    9      Q Was she working from her home in Los
10   time, and we then also considered -- well, the       10   Angeles?
11   things that he talks about further here, about the   11      A Sorry, no, when you say "general
12   IRS, what are the tax implications, because we       12   counsel," we didn't hire general counsel until I
13   viewed this as a taxable event.                      13   believe it was July or August.
14           I think it was also around this time         14      Q Okay. That was Eileen Lyon?
15   that we took the step of -- I can't really recall    15      A That's correct.
16   time exactly, but we employed KPMG to take a look    16          MR. MENDEL: Why don't we take a break.
17   at it from a financial reporting and tax             17   Off the record.
18   standpoint. And relating to our previous, you        18          THE WITNESS: Okay.
19   know, assessments of Kik currency, when we looked    19          THE VIDEOGRAPHER: We are going off the
20   at the card, we looked at that also.                 20   record. This is the end of media unit number 1.
21       Q CoinFund had written in c., like I just        21   The time is 10:45 a.m.
22   said, that "Some companies, in an effort to avoid    22            (A brief recess was taken.)
23   this classification altogether, have structured      23          THE VIDEOGRAPHER: We're back on the
24   their offering outside of the U.S. and block U.S.    24   record. This is the beginning of media unit
25   users."                                              25   number 2. The time is 10:57 a.m.

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 1          Did Kik do that?                               1   BY MR. MENDEL:
 2       A No, we didn't. Sorry, can I correct on          2      Q Mr. Heinke, what's before you right now?
 3   that?                                                 3      A Exhibit 33.
 4       Q Sure.                                           4      Q I'll take that back.
 5       A We did eventually in certain areas              5          (Plaintiff's Exhibit 35 was marked for
 6   where, I think it was New York, that you needed a     6          identification.)
 7   BitLicense. So we did block users from New York.      7      Q I'm giving you, Mr. Heinke, what's been
 8       Q Okay. But it didn't block U.S.                  8   marked Exhibit 35.
 9   generally?                                            9          What is Exhibit 35?
10       A No.                                            10      A It's an introduction email to the board
11       Q Just to be clear, CoinFund did advise          11   deck from April 2017.
12   you that issuing a cryptocurrency had SEC            12      Q That's from Mr. Livingston to the Board?
13   implications, correct?                               13      A That's correct.
14       A As they said at the top there, "The            14      Q And does Mr. Livingston's email also
15   following should not be construed as legal advice    15   include the CoinFund report? Actually, yes, go
16   and is provided for informational purposes only."    16   ahead.
17   So they just made us aware it's possible that the    17      A I'm not sure.
18   following regulators could come into play.           18      Q Let's go back to the first page.
19       Q Understood. They're not lawyers, right?        19      A Got it, okay.
20       A That's right.                                  20      Q In the second paragraph -- this is
21       Q But they were raising these --                 21   Mr. Livingston's email -- introductory email, "For
22       A Yes.                                           22   those interested in doing some prereading" --
23       Q They were responding and discussing            23      A Sorry. Okay.
24   these issues with you.                               24      Q Do you see that?
25       A That's correct.                                25          -- "I have attached a deck that

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 1   summarizes how crypto fits into our chat community    1   right?
 2   strategy. I have also added CoinFund's research       2      A No. It's actually --
 3   deliverable."                                         3      Q Under the "Revised Forecast," it says,
 4          Then if you go to, flipping through,           4   "Last presented by November 7th," right?
 5   KIK_, ending in 6657.                                 5      A Right. But the document you showed me
 6      A Got it, yes.                                     6   earlier, we discussed it said "Runway to September
 7      Q Got it? So that's Mr. Livingston                 7   2017." So it's not shaving it. It's actually
 8   sending the March 21st CoinFund report to the         8   extending from what that document was.
 9   Board, right?                                         9      Q We agree. I mis- --
10      A That's correct.                                 10      A That's okay.
11      Q Great.                                          11      Q I didn't make my question precise
12          For the record, that was Investi- --          12   enough.
13   excuse me, Investigation Exhibit 16A? It's on the    13      A Okay.
14   front.                                               14      Q The runway was extended from the
15      A Oh, yes.                                        15   September 2017 cutoff --
16      Q And Deposition Exhibit 35, right?               16      A Right.
17      A Correct.                                        17      Q -- that had been projected in February.
18      Q I'll take that back. Thank you.                 18   Now it's in November.
19          (Plaintiff's Exhibit 36 was marked for        19      A That's correct.
20          identification.)                              20      Q Fair enough.
21   BY MR. MENDEL:                                       21          And then it says, "Revised Forecast with
22      Q Here is Deposition Exhibit 36. This is          22   Severance, October 9th, 2017."
23   a one-page email on the front from Mr. Livingston    23      A Correct.
24   to Kik Board on May 4th, 2017, right?                24      Q Severance means that's if it provide --
25      A Correct.                                        25   Kik would provide some sort of severance payment
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 1       Q And that's attaching a board deck for           1   to its employees if it were to shut down?
 2   board meeting May 5th, 2017, right?                   2       A Correct.
 3       A Correct.                                        3       Q This slide reflects the runway that you
 4       Q If we go to a section of the board deck         4   understood to exist in May, correct?
 5   that ends in 6791 -- let me know if you're there.     5       A Correct.
 6       A Correct.                                        6       Q You presented this to the Board; is that
 7       Q All right. This is captioned "Runway            7   right?
 8   Budget Versus Revised Forecast," right?               8       A Correct.
 9       A Correct.                                        9       Q Then let's go to 6799. This begins a
10       Q This has a revised runway forecast of          10   section called "Cryptocurrency," correct?
11   November 1st, 2017.                                  11       A Correct.
12       A Correct.                                       12       Q And then let's go to page 7802. It's
13       Q It's revised down from November 7th,           13   two pages forward.
14   2017, right?                                         14           MR. SCHLEGELMILCH: 6802.
15       A Correct.                                       15       Q 6802. 6802.
16       Q Is this what you were remembering before       16       A 6802, yes.
17   about the runway going out further?                  17       Q It says, "Step 1, create a new
18       A That's correct.                                18   cryptocurrency with 10 trillion tokens"?
19       Q Okay. The earlier runway was back in           19       A Correct.
20   February and so now we're in May.                    20       Q That's what Kik was planning to do at
21       A That's correct. So the earlier one             21   this step?
22   ended -- the runway lasted per the projections       22       A Correct.
23   into September. Now it's lasting in this one to      23       Q Below it lists different percentages
24   November.                                            24   going to different types of groups. And it says,
25       Q Okay. But this is shaving it by a week,        25   "30 percent to investors"; is that right?
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 1       A That's correct, in this document, yes.          1       A Yes, it was discussed with counsel
 2       Q Yes, in this document, on May 5th. For          2   present.
 3   the May 5th board meeting it says, "30 percent to     3       Q Great.
 4   investors," correct?                                  4           Can you go to page 6810. Are you there?
 5       A Correct.                                        5   It says, "Timeline"?
 6       Q It says under that -- under "Investors,"        6       A Yes.
 7   it says, "10 percent sold on day 1," correct?         7       Q I'm just going to walk through some of
 8       A Correct.                                        8   the number -- the items here. It's a graphic, is
 9       Q In fact, that's what Kik eventually did         9   it not?
10   with Kin, it sold 10 percent of its float on day     10       A That's correct.
11   1, right?                                            11       Q May 24th, it says, "Token Summit
12       A That's correct.                                12   Announcement."
13       Q That was 1 trillion Kin?                       13       A Correct.
14       A That's correct. So just to take -- I           14       Q Then for June, further on the timeline
15   just want to go back because this isn't --           15   it says, "Presale roadshow," right?
16   "community builder" so -- because we had             16       A Correct.
17   60 percent, we gave -- so this must have -- so       17       Q Then the next dot on the timeline is "To
18   this has changed then afterwards, I guess.           18   be determined early July token distribution
19       Q Okay. This was just the plan as of             19   event."
20   May 5th, 2017, right?                                20       A Correct.
21       A It was initial outline, yes.                   21       Q Then the last bullet on the timeline is
22       Q Okay.                                          22   "To be determined full product launch," right?
23          Can we go to page 7806 -- 6806. I'm           23       A Correct.
24   sorry, I misspoke.                                   24       Q So full product launch was planned at
25          Please go to page ending in 6806.             25   this point for after the token distribution event?

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 1       A That's correct.                                 1       A At this time, yes.
 2       Q Here we have a page -- a slide that just        2       Q And then, who was the counsel with you
 3   says "Risks," correct?                                3   at the meeting where you discussed the securities
 4       A Correct.                                        4   law issue?
 5       Q And there's three risks listed. The             5       A Nancy Wojtas.
 6   first risk listed just says "Securities law,"         6       Q Anybody else?
 7   correct?                                              7       A Not that I can recall.
 8       A Correct.                                        8       Q Was she there in person or on the phone?
 9       Q This was the risk that selling of Kin           9       A I can't recall if this was a sit-down
10   tokens could be seen as the selling of a security;   10   meeting or a call-in meeting. Does it -- it would
11   isn't that right?                                    11   normally say at the beginning of the board
12       A That gets into attorney-client privilege       12   minutes.
13   because everything related to that is redacted       13       Q Let's go back. This is just the board
14   so ...                                               14   deck, right?
15       Q But you -- I mean, it's fair to say,           15       A Yes, it says, "Board meeting." Yes, so
16   independent -- and, please, counsel, jump in if      16   it would have been a call-in meeting.
17   this is going on privilege -- but the topic being    17       Q You see that from --
18   discussed was whether the selling of Kin tokens      18       A Look at reference 786.
19   would be seen as the selling of a security. Isn't    19       Q I'm there.
20   that what was encompassed by a securities law --     20       A It says, "Board meeting." So it says,
21       A Correct.                                       21   "Join call."
22       Q -- risk?                                       22       Q And where -- where is -- Ms. Wojtas is
23            Okay.                                       23   outside counsel, right?
24            And the Board discussed this during your    24       A Yes.
25   meeting?                                             25       Q What firm is she at?

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 1        A Cooley's.                                     1       Q -- 7?
 2        Q Let's go to page ending in 815.               2       A Yes, the agenda item on 870.
 3            And we're back in the "Cryptocurrency"      3       Q So based on 870, would you say that it
 4   section, right?                                      4   was voted on at this board meeting?
 5        A Yes.                                          5       A There's -- I don't have the resolutions
 6        Q This says, "Sales Structure." What is         6   here in front of me so that's obviously an agenda
 7   this chart?                                          7   item, but I don't see the actual resolutions that
 8        A This shows the allocation, I guess, for       8   we were asking for in this. If we go through the
 9   the tokens.                                          9   document -- so it says here, if we go to slide
10        Q Okay. And the plan then was to sell 10       10   885 --
11   trillion tokens, right?                             11       Q 885, yes.
12        A Correct.                                     12       A -- "Kin roadmap: Allocation schedule
13        Q The float offered was 10 percent. So         13   approval; Announcement at Token Summit. Approval:
14   Kik would be offering, then, 1 trillion, or         14   Kin Whitepaper; Distribution of whitepaper post
15   10 percent, of the total token supply. Do I have    15   announcement. Kin Whitepaper Advisors."
16   that right?                                         16       Q Did the Board approve all these things
17        A Right.                                       17   at the May 23rd meeting?
18        Q And then below, "Tiered Pricing              18       A There would have been a resolution, so
19   Discounts," there is a plan to offer some of        19   I'm not sure if there's a -- there would have been
20   the -- part of the 10 percent, or 1 trillion        20   a signed resolution, probably, or minutes
21   tokens, in tranches. Do I have that right?          21   identifying that the approval was done.
22        A Right.                                       22       Q Is it fair to say the approval was given
23        Q And they vary in the level of discount.      23   before the public announcement?
24        A Correct.                                     24       A Yes.
25        Q Okay. I'll take that back.                   25       Q Was the Board in -- unanimous about the

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 1          Thank you.                                    1   proposal to make the announcement of Kin?
 2          (Plaintiff's Exhibit 7 was marked for         2      A Yes, it was.
 3          identification.)                              3      Q Did Mr. Holland vote in favor of that?
 4   BY MR. MENDEL:                                       4      A Yes, he did.
 5      Q I'm giving you what's been marked               5      Q In Exhibit 7, let's go to -- just to --
 6   Deposition Exhibit 7. In the investigation it was    6   just to highlight the date here, this is May 23rd,
 7   Exhibit 18A, as requested on the front.              7   2017 --
 8          One question. At a certain point, the         8      A Correct.
 9   Kik Board authorized the issuance of the             9      Q -- and the public announcement was a
10   cryptocurrency or at least the offer of the         10   couple days later on May 25th, 2017?
11   cryptocurrency, right?                              11          Do I have that right?
12      A Correct.                                       12      A I believe so. I can't recall the exact
13      Q Which board meeting did that                   13   date.
14   authorization take place?                           14      Q It was in May.
15      A I can't recall exactly which meeting it        15      A Yes.
16   was.                                                16      Q So this is just a few days before the
17      Q Was it in May?                                 17   public announcement.
18      A May have been. As I said, I can't              18      A Right.
19   recall. I don't know if there's approvals in here   19      Q Okay.
20   or resolutions proposed.                            20          Let's go to the page ending in 871.
21      Q Okay.                                          21          It says, "Update on crypto, sit-down
22      A It says May. It says second point is           22   May 18th, 2017," right?
23   "Approvals requested."                              23      A Yes.
24      Q You're looking at --                           24      Q Is this, then, an excerpt of an internal
25      A Looking at --                                  25   presentation at Kik that's included in the board
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 1   deck?                                                 1   Mr. Livingston.
 2       A Correct.                                        2      Q Okay. He says, "I'm doing a fireside
 3       Q Below, it says -- below the slide it            3   chat at Token Summit at NYC, and then we're going
 4   says, "Thanks, Eran and team." So that's sort of      4   to move pretty quickly into a roadshow followed by
 5   a reference to an internal effort at Kik, right?      5   the actual token sale likely in July."
 6       A Correct.                                        6      A Correct.
 7       Q At the sit-down, did you go? Did you            7      Q That also was spoken by Mr. Livingston,
 8   attend the sit-down?                                  8   right?
 9       A I believe I did, but I can't recall             9      A Correct.
10   exactly.                                             10      Q Because Mr. Livingston was the one who
11       Q Did all offices attend by video?               11   did the Token Summit.
12       A Sorry?                                         12      A Yes.
13       Q At the sit-down on May 18th, 2017, did         13      Q This reflected Kik's plans at the time,
14   all of Kik's offices attend?                         14   correct?
15       A I believe so because we -- Tel Aviv            15      A Correct.
16   would have been the -- from a timing standpoint,     16      Q And it says then, "Next Thursday, after
17   and I think they would have been -- they were on     17   we announce, we will be propping up a landing page
18   this call.                                           18   which will house the main marketing document for
19       Q If it's a sit-down, it's usually an            19   our fundraise, the white paper."
20   all-employee-type meeting, right?                    20      A Correct.
21       A Yes.                                           21      Q And the white paper was Kik's main
22       Q Let's go to 872, which is the next page.       22   marketing document for the offering; is that
23       A The only reason I'm saying that --             23   right?
24       Q Yes.                                           24      A Correct. Well, you say offer. Yes, for
25       A -- is there have been meetings where we        25   the token sale.

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 1   have done a sit-down for North America, and then      1      Q By "propping up a landing page," what
 2   we did another one, I believe, for Tel Aviv just      2   does that mean?
 3   because of time differences sometimes.                3      A I don't know, really, what that means,
 4          I think this done was all, but I can't         4   quite frankly.
 5   really recall exactly.                                5      Q Was that a landing page on a website?
 6      Q Okay. Fair enough.                               6      A I imagine so.
 7          Looking at page 6872, which is right           7      Q Would that web page have been freely
 8   after the Update on Crypto slide. You see we were     8   accessible to people on the Internet?
 9   close to it before.                                   9      A I don't know if we had any sort of
10      A Yes.                                            10   restrictions on that one. I can't recall.
11      Q You're there?                                   11      Q You can't remember any restrictions on
12          It says, there's a slide -- the slide         12   access to the white paper, can you?
13   says, "Where we are," on the left-hand side,         13      A I can't recall either way.
14   "Token Summit NYC." There's a graphic that says,     14      Q Let's go to page 878.
15   "White Paper," and then on the right side, "Token    15          It says, "Division." Are you there?
16   sale." It's sort of a two-event timeline. Then       16      A Correct, yes.
17   below, there's language. And below the slide,        17      Q The slide says, "A decentralized
18   that's what would have been spoken at the meeting,   18   ecosystem of digital services for daily life,"
19   correct?                                             19   right?
20      A Correct.                                        20      A Correct.
21      Q It says, "We are one week away from             21      Q And then in the presentation part -- or
22   announcing our intention to fundraise." Is this      22   the notes below, it says, "I'm going to take you
23   what -- was this from Mr. Livingston, or was         23   through four steps to realizing this vision."
24   somebody else talking here?                          24      A Correct.
25      A This would have been probably                   25      Q This is still Mr. Livingston speaking?
                          98                                                        100

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 1       A I would imagine so, yes.                        1   demand would lead to an increase in the value of
 2       Q Then the next page, 879, its says, "Step        2   the token; is that right?
 3   1, create a new cryptocurrency." Let me -- and        3       A Yes. Over a period of time, yes.
 4   then it says below that, "Kin."                       4       Q In your view, the best way for this to
 5           Was this the first time that employees        5   happen was to have a system where the value would
 6   generally at Kik saw the term "Kin"?                  6   increase steadily, right, not through like a spike
 7       A You know what, I can't really recall if         7   or a drop? You wanted sort of an even increase in
 8   this would have been the first time. I'm not sure     8   the value of Kin.
 9   of the timing as to when we finalized the name and    9       A Exactly. Stability to it so it's not
10   when it was presented, but it would have --          10   highly volatile.
11       Q Take Exhibit 21, which is your                 11       Q But the ultimate objective was to go up
12   transcript. I'm going to refer you to page 223.      12   in value, correct?
13   Again, it's the small square on the page.            13       A Yes, eventually, yes.
14           Look at line 8 starting -- look at the       14       Q And you hired a consultant to work on
15   testimony starting on line 8 on page 223.            15   that with you, or no?
16       A Okay.                                          16       A We hired a couple consultants. We
17       Q Then read up to the top of page 224. Do        17   hired -- CoinFund had an economist to help sort of
18   you see that?                                        18   take a look at what was required in the economy,
19       A (Document review.)                             19   and then we also hired McKenzie to help with that
20           Yes.                                         20   part of it.
21       Q Does that refresh your memory?                 21       Q Go to the next page, 881.
22       A Yes.                                           22       A Sorry, there was also a third person.
23       Q Okay. You can put the transcript down.         23   It was Bill Raduchel, who was a foundation member.
24           So do you think that this meeting was        24   He was a Ph.D. in economics from Harvard. And
25   the first instance in which Kik employees            25   that was a lot of his background, too. That's why

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 1   generally saw the term "Kin"?                         1   we had him on the Foundation -- a proposed
 2       A Yes, I said there, too, I think this is         2   designee on the Foundation.
 3   the first time.                                       3       Q When you said "foundation member," what
 4       Q Then going to page 880 -- this is the           4   do you mean by that?
 5   next slide in the deck -- it says, "Step 2, give      5       A He was a proposed board director member
 6   value to Kin."                                        6   of the Foundation.
 7           Did Mr. Livingston tell employees during      7       Q But he -- did he ever become a director?
 8   the sit-down that the second step was to give         8       A No. He -- he was supposed to become,
 9   value to Kin and this would be accomplished by        9   and then when the SEC thing came out right away
10   integrating Kin into Kik?                            10   after the token distribution event, he held off,
11       A Yes.                                           11   but we did still treat him as though he was a
12       Q Did he tell the same thing to the Kik          12   foundation board member.
13   Board?                                               13       Q He never had any voting authority for
14       A Yes, he would have.                            14   the Foundation, did he?
15       Q Did Mr. Livingston tell Kik employees          15       A No.
16   that "increased usage means increased demand which   16       Q And he never had any managerial
17   means increased value"?                              17   responsibility at Kik, correct?
18       A Yes.                                           18       A No.
19       Q Was that Kik's goal, to have increased         19       Q Going to page 881, where it says, "Step
20   usage, which would mean increased demand?            20   3, the Kin Rewards Engine."
21       A With the increased usage, I think as I         21       A Yes.
22   describe back then, was the economy's success is     22       Q So, going down below, where it says, "On
23   based on velocity, how many transactions occur,      23   a high level, here is how this will work," this is
24   and that's driven by increased demand and usage.     24   describing the Kin reward engine, right?
25       Q The thought was that an increase in            25       A Correct.

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 1       Q So I'll just read the three bullets             1       Q What do you mean by "Kin rewards issued
 2   here. Bullet number 1 says, "60 percent of the        2   but not through algorithms"?
 3   total supply of Kin will be allocated to the          3       A I think if you go back to my testimony,
 4   operation of a Kin Rewards Engine."                   4   I think I talked about it last time, too, is that
 5          That's how it was conceived at the time,       5   one of the advisors was William Mougayar, and we
 6   right?                                                6   had talked about an automated algorithmic rewards
 7       A Yes.                                            7   engine. And he advised against it initially
 8       Q Then the second bullet, "Periodically,          8   because he said you don't understand the ecosystem
 9   KRE" -- meaning Kin Rewards Engine -- "will unlock    9   yet at that point in time.
10   and distribute a specific amount of Kin to be        10          But I think he -- it's in the -- I
11   shared among all of the digital services that make   11   recall reading it in the testimony I gave last
12   up the Kin ecosystem," right?                        12   time.
13       A Correct.                                       13       Q Ah, okay.
14       Q And then finally, the third bullet, "The       14          So how functionally, then, would the
15   amount of reward received by each digital service    15   issuances be done?
16   will be calculated by considering the volume of      16       A How functionally? It was --
17   Kin transactions originated from that digital        17       Q If you're saying it's not -- the Kin
18   service," right?                                     18   Rewards Engine was conceived as an algorithm,
19       A Yes.                                           19   right?
20       Q These talking points accurately describe       20       A Right.
21   Kik's plans for the reward engine, correct?          21       Q Okay. So is your testimony that the
22       A Correct.                                       22   rewards operation would go manually?
23       Q At the time of this meeting, Kik did not       23       A Yes, I think there was some -- there was
24   know how the Kin Rewards Engine would run, though,   24   an idea that -- I know there were discussions with
25   right?                                               25   various potential consortium players, and that was

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 1        A No.                                            1   the intent, was that we would look at the
 2        Q And Kik had not created the algorithms         2   Foundation being independent and would award them
 3   necessary to run the rewards engine; is that          3   at somewhat a discretionary level to start, just
 4   right?                                                4   to incentivize people to build on the ecosystem.
 5        A That's right.                                  5       Q Are you aware of this being done, of
 6        Q And the details of the reward engine           6   manual issuances?
 7   were not complete at the time of the token            7       A I believe they are -- they were done --
 8   distribution event; is that right?                    8   I can't recall if they were done at that time. I
 9        A No, they weren't intended to be complete       9   know they are being done.
10   at the time of the token distribution event.         10       Q Well, you became a foundation director,
11        Q And they are not complete.                    11   right?
12        A No.                                           12       A Right.
13        Q It was never imagined that they would be      13       Q This is skipping ahead. Do you remember
14   complete at the time of the token event?             14   any manual issuances being done by the Foundation
15        A No.                                           15   while you were director?
16        Q And Kik knew that, right?                     16       A I don't recall any.
17        A Yes.                                          17       Q And you were thinking about it, because
18        Q At this point, the Kin Rewards Engine,        18   your testimony is that there was -- one of your
19   it's just a hypothetical, right?                     19   consultants was cautioning Kik against the
20        A Yes.                                          20   algorithm at first? Is that what you're saying?
21        Q Page 883. Well, let me just --                21       A That's correct.
22        A Can I just take a step back? When you         22       Q Mr. Mougayar?
23   say it was hypothetical, the Kik Rewards Engine,     23       A Yes.
24   there was still going to be Kin rewards issued but   24       Q Was it envisioned, then, that the
25   just not through algorithms and that.                25   issuances would be done by Kik employees?

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 1       A No. It would have been -- the envision          1       A Yes.
 2   would have been done -- it would have been done by    2       Q It says under C, "All token users will
 3   the Foundation.                                       3   be eligible to receive -- to a" -- there's a word
 4       Q Did the Foundation ever have any                4   missing. "All token users will be eligible to a
 5   employees while you were there?                       5   premium sticker pack based on their status,
 6       A No.                                             6   bronze, silver, gold," right?
 7       Q Going to page 882, it says, "Step 4 of          7       A Yes.
 8   the Foundation," right?                               8       Q It should say, "eligible to receive a
 9       A Yes.                                            9   premium sticker pack," right?
10       Q That refers to the Foundation that Kik         10       A Correct.
11   would set up?                                        11       Q When was the decision made to include an
12       A Yes.                                           12   MVP?
13       Q Then page 883, the next page, it says,         13       A I can't recall.
14   "What this means for Kik," and there's four items    14       Q Was it before the May 23rd board
15   listed. The first one is, under Kik, "Create         15   meeting?
16   Kin." That's the first thing listed. And it          16       A I would imagine so because it's being
17   says, "Raise money, better terms," correct?          17   proposed here.
18       A Correct.                                       18       Q Was it after the -- was it between the
19       Q I'll take that one back.                       19   May 4th board meeting that we talked about and
20          Was that true, raise money, better            20   this board meeting?
21   terms?                                               21       A I can't recall that.
22       A It was with --                                 22       Q But it had been worked on before this
23          MR. CADIGAN: Objection. Go ahead.             23   point, right? Fair to say?
24       A It was with the presale investors.             24       A Before this point?
25       Q The presale investors were who?                25       Q Yes.
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 1      A The presale investors were the                   1       A Yes.
 2   sophisticated, accredited investors that we had.      2       Q Who at Kik made a decision to include an
 3      Q Had those investors been identified by           3   MVP?
 4   the time of this board meeting on May 23rd, 2017?     4       A I can't really recall. It would have
 5      A I can't recall if they had been                  5   been likely in consultation with counsel so -- but
 6   identified at that time.                              6   I can't recall who exactly at that time. At this
 7      Q But at this point you were thinking              7   time I was also heavily starting to get involved
 8   about selling to accredited investors?                8   with purchasing a company called CoinTree.
 9      A Yes.                                             9       Q Yes.
10      Q I took this away too quickly. Here, I'm         10       A So that was around this time also. So I
11   going to give it back to you.                        11   wasn't as involved in sort of some of these things
12      A Okay.                                           12   as I was in some of the other transactions.
13      Q Let's go to page 889.                           13       Q You were not heavily involved in
14          You're there, right? It says,                 14   determining the MVP?
15   "Proposed" -- this is another slide. It says,        15       A No. That was product people.
16   "Proposed product MVP."                              16       Q Like Mr. Ben-Ari?
17      A Correct.                                        17       A Yes.
18      Q What does MVP stand for?                        18       Q People under his supervision?
19      A Minimum viable product.                         19       A Yes, and then with -- in conjunction
20      Q And the plan was at this point to sell          20   with Ted and marketing people, I gather.
21   the tokens to the public once Kik had created an     21       Q Mr. Livingston was involved in that,
22   MVP; is that right?                                  22   right?
23      A That's correct.                                 23       A Yes, I believe so.
24      Q This is now part of the plan that was in        24       Q Was one reason for the MVP to satisfy
25   the board report?                                    25   compliance concerns?

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 1      A I guess that would have been one of the         1   quickly.
 2   reasons.                                             2       A Wanted a product that could be developed
 3      Q You guess? Are you sure?                        3   quickly that would satisfy, as we point out here,
 4      A Yes, one of the reasons.                        4   compliance, be first to market, and then also
 5      Q It was believed that by having -- let's         5   establish that it was technically feasible.
 6   go back to the term "minimum viable product."        6       Q Did Kik choose a theme for the MVP?
 7   Does that suggest some level of functionality? Is    7       A Sorry, what do you mean by "theme"?
 8   that what the idea is?                               8       Q Well, chose -- the MVP included
 9      A That's correct.                                 9   accessing sticker packs, right?
10      Q Was it believed that by having some            10       A Correct.
11   level of functionality, that it called an MVP,      11       Q That was the central idea?
12   that Kik would be better able to achieve legal      12       A That was one, and then the ability to
13   compliance?                                         13   see your wallet and hold Kik coin and have that
14      A That would be one.                             14   integrated with the messenger.
15          (Plaintiff's Exhibit 42 was marked for       15       Q So it would be sort of reading your
16          identification.)                             16   balance.
17   BY MR. MENDEL:                                      17       A Correct.
18      Q I'm presenting you with what's been            18       Q And then showing other people that you
19   marked Deposition Exhibit 42.                       19   had a particular balance.
20          This is an email from Mr. Ben-Ari on         20       A Yes.
21   May 17th, 2017, to Tanner Philp. He's at Kik,       21       Q Almost like sending them a screenshot of
22   right?                                              22   your -- of how many Kin that you had; is that
23      A Right.                                         23   right?
24      Q You're listed on the cc line, right?           24       A No, you wouldn't show how many Kin you
25      A Yes.                                           25   specifically had.
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 1      Q So you received this?                           1      Q You would show a sticker instead.
 2      A Yes.                                            2      A Yeah, you would have a status, and that
 3      Q Mr. Ben-Ari says in the second                  3   would sort of give you sort of status in the
 4   paragraph, "The MVP has an objective to satisfy      4   ecosystem.
 5   compliance requirements," correct?                   5      Q Status was the number of Kin you held.
 6      A Yes.                                            6      A Exactly.
 7      Q That was the comment that was the               7      Q It's kind of like showing your bank
 8   consensus at Kik, right?                             8   account, isn't it?
 9          MR. CADIGAN: Objection.                       9      A Yes, I guess so.
10      Q That's what you understood one of the          10      Q And what was the theme of the sticker?
11   objectives to be?                                   11      A The theme?
12      A That was one of the objectives.                12      Q Was there like some sort of common
13      Q Another objective of the MVP, as Kik           13   thread to the sticker packs that Kik developed?
14   designed it, was to allow Kik to be first to get    14   Honey badgers?
15   to market, right?                                   15      A Yeah, I can't recall the characters
16      A That's correct.                                16   exactly. You're talking about the characters when
17      Q Why was it important to get to market          17   you're talking about themes?
18   quickly?                                            18      Q Yes. That's all I'm asking.
19      A From a business standpoint, it's -- you        19      A Yes.
20   always want to be first to market with a product.   20      Q Okay.
21      Q So Kik wanted to design something that         21          Being first to market was important
22   would facilitate that, right?                       22   because that would give Kik more publicity; isn't
23      A Yes.                                           23   that right?
24      Q Meaning you should develop a product --        24      A That's correct.
25   you wanted a product that could be developed        25      Q And other MVP options could have taken

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 1   longer?                                               1       Q A price that a person paid, an
 2       A Yes, likely. So when you say the                2   accredited investor, the thought was that the
 3   objective of getting publicity, objective of          3   price that the accredited investor paid to enter
 4   getting publicity is to attract other users and       4   into a SAFT, allowing for the receipt of Kin,
 5   developers to the ecosystem.                          5   would be lower than the price that somebody who
 6       Q You thought the MVP was limited; isn't          6   bought in the public sale would pay, correct?
 7   that right?                                           7          MR. CADIGAN: Objection.
 8          MR. CADIGAN: Objection.                        8       A Yes.
 9       A I don't know. Where do I say that?              9       Q Let's go to -- still on Exhibit 7, page
10       Q Well, I'm just asking for your                 10   892.
11   impressions now. Don't you think that the MVP was    11       A Do you want 42 back or no?
12   limited?                                             12       Q Yes, please, thank you.
13          MR. CADIGAN: Objection.                       13       A Sorry, which page?
14       A No, not necessarily. I mean, the MVP --        14       Q Bates number ending in 892.
15   the purpose of the MVP was threefold. The fact       15          It says "Sales Process," correct?
16   that we were able to do and build a cryptocurrency   16       A Correct.
17   in a transactional environment was a big step. No    17       Q And "Total Raise, Target, 100 million."
18   one had done that yet at that stage. So that was     18       A Correct.
19   really important for us.                             19       Q And then it's broken down. "Presale, up
20       Q You were not a big sticker user, right?        20   to 50 million." Is that what it says?
21       A No, not at my age, no.                         21       A Correct.
22       Q So you didn't have a lot of firsthand          22       Q And then "Token Distribution Event, 50
23   knowledge of what the MVP would mean for users,      23   to 75 million," right?
24   right?                                               24       A Correct.
25       A No, because -- no, exactly.                    25       Q Those breakdowns appear on the same
                          117                                                      119

 1       Q And you can't comment on whether the            1   slide, right?
 2   MVP, as a product matter, was a good product,         2       A Correct.
 3   right --                                              3       Q The presale, that was to the accredited
 4       A No.                                             4   investors, right?
 5       Q -- because you don't have the experience        5       A That's correct.
 6   for that.                                             6       Q So at this point in time, as you've just
 7       A That's correct.                                 7   said, Kik's plan was to sell the tokens through a
 8       Q A decision -- you referred to presale           8   presale stage and through a token distribution
 9   investors, right? So a decision was made to offer     9   event.
10   digital tokens through something called Simple       10       A Correct.
11   Agreements for Future Tokens, or SAFTs?              11       Q Was the token distribution event to the
12       A Correct.                                       12   general public?
13       Q Can you just describe what a SAFT was.         13       A Yes.
14       A SAFT is a security agreement for               14       Q Let's go to the next page. Yes?
15   receiving tokens at a later date.                    15       A Sorry, when you say "general public,"
16       Q Let's go to -- let me just ask you. As         16   like, they had to register, so -- but, yes.
17   part of that agreement that you just described,      17       Q The token distribution event
18   investors entering into a SAFT would buy the Kin     18   participants had to preregister for the event.
19   at a discount; is that right?                        19       A That's correct. They had pre KYC,
20           MR. CADIGAN: Objection.                      20   right.
21       Q Was there a discount involved?                 21       Q And they had to go through steps and
22           MR. CADIGAN: Objection.                      22   processes.
23       A There was a discount involved, yes. And        23       A Exactly.
24   there were other terms that were vesting terms       24       Q But it was at least for -- the
25   with it.                                             25   preregistration process was basically open to
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 1   anybody.                                            1     Q      Flip back to page 886.
 2       A No.                                           2          It says, "Presale timeline," correct?
 3       Q Subject to geographic --                      3       A Correct.
 4       A Correct.                                      4       Q And this is the plan for selling to
 5       Q -- carve-outs.                                5   accredited investors?
 6       A Correct. Yes.                                 6       A Correct.
 7       Q Okay. I got that right.                       7       Q Does it reflect a roadshow? Under "Key
 8       A Yes.                                          8   Actions," so if you go down several lines, you'll
 9       Q But there was one plan to raise               9   see "Key Actions," and then under "Mid June, New
10   $100 million, right? There weren't several plans   10   York and Toronto roadshow."
11   to raise $100 million, just one plan to raise      11       A Yes, I'm not sure, like -- I describe it
12   $100 million.                                      12   as a roadshow. We had meetings set up, but there
13       A Well, yes, I guess you could say there       13   was no, like -- outside of an event where Ted --
14   were one plan. There were two sections to it.      14   like where he launched the thing originally. Most
15       Q Let's go to page 893. This is a slide        15   of these were just meetings set up.
16   that says "Token sales structure soft cap." This   16       Q But the slide says "roadshow."
17   is -- we've seen something like this in a prior    17       A Yes, that's correct.
18   board deck, right?                                 18       Q And then it says -- and then under "End
19       A Uh-hmm. Yes.                                 19   of June" it says, "TechCrunch: Shenzen," correct?
20       Q And this has been revised. The token         20       A Yes.
21   supply is $10 trillion tokens, right?              21       Q "China and Japan roadshow," right?
22       A Yes.                                         22       A Correct.
23       Q And the float offered is still               23       Q "San Francisco roadshow"?
24   10 percent?                                        24       A Yes.
25       A Correct.                                     25       Q Were those events where Ted spoke
                        121                                                      123

 1       Q And then it has different discounts           1   publicly?
 2   listed below that, under "Tranches," right?         2      A I can't recall if he did or not, like I
 3       A Correct.                                      3   wasn't on those, Shenzen and Japan. I think he
 4       Q And, now, some of the tranches have           4   was going over for a conference, but I can't
 5   "SAFT" listed next to them, correct?                5   recall if he spoke.
 6       A Correct.                                      6      Q But these are describing also the
 7       Q But not all the tranches, right?              7   presale efforts, correct?
 8       A Correct.                                      8      A Correct.
 9       Q All right. It says -- there's two             9      Q So they were happening -- well, okay.
10   tranches that have SAFT, one SAFT, and then the    10   Fine.
11   other SAFT, two, right?                            11           Once a SAFT participant received Kin,
12       A Correct.                                     12   was there any restriction on what the participant
13       Q Then it says, "First public tranche,         13   could do with the Kin?
14   20 percent."                                       14      A Restriction in the sense of?
15       A Correct.                                     15      Q Were there resale restrictions?
16       Q Okay. And then "10 percent, 75 to 100        16           MR. CADIGAN: Objection.
17   million, last chance for discounts," right?        17      A I can't recall offhand.
18       A Correct.                                     18      Q You can't remember, sitting here, that
19       Q And then zero percent, the 100 to 125        19   there were any resale restrictions on Kin, right?
20   million, there would be no discount?               20      A No, I can't recall.
21       A Correct.                                     21      Q Why don't you turn to page 214 of
22       Q So as envisioned in this document, then,     22   Exhibit 21.
23   discounts weren't necessarily limited to people    23           Start on line 7. Just let me know after
24   who entered into SAFTs.                            24   you've read to -- pick line 12, just 7 to 12.
25       A Correct.                                     25           Does that refresh your memory?

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 1      A Yes.                                             1      A Yes.
 2      Q What's your memory now as to whether             2      Q You read drafts of that before it was
 3   there were restrictions on holding Kin?               3   issued, right?
 4      A It says here that there was no                   4      A Yes.
 5   restrictions on them, and we had vesting on all of    5      Q And that's the final one?
 6   the presale investors in order to prevent that        6      A Okay.
 7   sort of scenario happening, which I assume was to     7      Q You agree that's the final one?
 8   avoid having everybody sell everything right at       8      A Yes.
 9   the start.                                            9      Q Okay. And this was published on Kik's
10      Q Well, when you say "vesting," though --         10   website?
11      A They couldn't sell any -- half of their         11      A I believe so.
12   holdings, what they bought, they couldn't sell       12      Q Kik's website was freely accessible on
13   them for a year, or they --                          13   the Internet, correct? You didn't need to
14      Q Because they didn't receive them.               14   register to get on Kik's website, did you?
15      A Yes, at that rate, correct.                     15      A I can't recall that, actually.
16      Q But what about the Kin they did receive?        16      Q Look at page 239 of your transcript at
17   They received half the Kin right away.               17   Exhibit 21.
18      A They could sell those, that's correct.          18      A Yes.
19      Q Right away.                                     19      Q Then look at line 22 through 24, and
20      A Yes.                                            20   then keep reading to the top of page 240. Let me
21      Q I'll take 36 back. I'm sorry to see --          21   know if that refreshes your memory.
22   I'm sure you're sorry to see it go but ...           22      A Yes.
23          That was -- I'm sorry, I just took            23      Q So Kik's website was freely accessible,
24   Exhibit 7 back from you. Then what's the other --    24   right?
25   you have no other exhibits in front of you.          25      A Yes.
                          125                                                      127

 1       A No, these are transcripts.                      1      Q Okay, great. Thanks. You can put that
 2       Q Kik made its announcement of Kin in late        2   down.
 3   May 2017, correct?                                    3         Who was the white paper's intended
 4       A Correct.                                        4   audience?
 5       Q At the Token Summit in New York City?           5         MR. CADIGAN: Objection.
 6       A Correct.                                        6      A I can't really recall who.
 7       Q Were you in New York at the time of the         7      Q Was the white paper directed toward the
 8   announcement?                                         8   general public?
 9       A Yes.                                            9      A I can't remember how we marketed it, if
10       Q Did you attend the Token Summit where it       10   we marketed it at all at that time. As I said, I
11   was announced?                                       11   wasn't involved in the marketing side of the
12       A I was hoping to, but I didn't.                 12   equation at this time.
13       Q Kik published the white paper at the           13      Q Understood. And it's been another year
14   same time?                                           14   since you testified, right?
15       A I believe so, yes.                             15      A Yes, two years since -- two and a half
16         (Plaintiff's Exhibit 12 was marked for         16   years, actually.
17         identification.)                               17      Q Okay. So, here, let's go back to the
18   BY MR. MENDEL:                                       18   transcript, page 244.
19       Q I'm providing you what's been marked           19      A Yes.
20   Deposition Exhibit 12, marked Investigation          20      Q You remembered the events more
21   Exhibit No. 2.                                       21   accurately or better last year, right, during your
22         Is this the white paper?                       22   testimony?
23       A Correct.                                       23      A Yes, correct.
24       Q Take a minute and look at it if you need       24      Q And so let's go to page 244, line 12.
25   to.                                                  25   Are you there?
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 1       A Yes.                                           1       A Correct.
 2       Q Just read the page -- line 23.                 2       Q Of 2017, right?
 3       A Yes.                                           3       A Yes.
 4       Q So, would you agree, based on your prior       4       Q Could people go into the Kik Messenger
 5   testimony, that the white paper's intended           5   app and use their Kin tokens to do any of the
 6   audience included the general public --              6   things that are described in these pages that we
 7          MR. CADIGAN: Objection.                       7   just looked at?
 8       Q -- as you understood it?                       8       A Well, you could have -- I know that
 9          Let me just ask the question again. As        9   somebody had actually been selling, like, not in
10   you understood the efforts of the marketing team    10   the digital side, but had been selling sunglasses,
11   at Kik, did you understand the white paper's        11   as an example, using KikCoin -- Kin Coin, but I
12   intended audience to include the general public?    12   don't think -- none of these examples were there
13       A When you say "general public," like our       13   at the time.
14   users or --                                         14       Q At the time, okay. And nothing in the
15       Q The public generally.                         15   white paper. Kik app users couldn't do any of the
16       A I guess so.                                   16   things described in the white paper at the time of
17       Q And was another target people who would       17   the token distribution --
18   participate via the SAFT?                           18       A No.
19       A Yes, presale investors.                       19       Q -- event?
20       Q Together. They were all included,             20          MR. CADIGAN: Objection.
21   right?                                              21       Q Is that a no?
22       A Yes.                                          22       A Not that I'm aware of.
23       Q Then let's go to pages 11 to 15 of the        23       Q And the sunglass example, the sunglass
24   white paper.                                        24   example isn't in the white paper, is it?
25          It says on page 11, Kik integration in       25       A No.
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 1   Kin. I'm sorry, I misspoke. "Kin integration in      1      Q And, to your knowledge, when could
 2   Kik."                                                2   people buy sunglasses using Kin?
 3       A Yes.                                           3      A I can't recall the exact date, but I
 4       Q We have on page 11, "An earnable               4   know people in Tel Aviv actually made purchases of
 5   currency." That's a subtitle, right?                 5   those sunglasses.
 6       A Yes.                                           6      Q After the distribution event.
 7       Q And then in the next pages we have use         7      A Yes.
 8   cases, right, or proposed use cases?                 8      Q Through Kik Messenger or outside on the
 9       A Proposed use cases, yes.                       9   general market?
10       Q These weren't actually implemented at         10      A Outside.
11   the time, right?                                    11      Q Outside the Kik Messenger?
12       A No, they say, like, "example."                12      A Exactly.
13       Q Yes, of what could happen or --               13      Q Did the white paper include the
14       A Exactly.                                      14   description of the MVP that we saw earlier in the
15       Q "Kin wallet," "Ethereum settlement            15   board presentation?
16   layer," "Kin economy and prospective use cases."    16      A I don't believe so. Can you just give
17   That was on page 12. Those were subheadings. And    17   me a second?
18   then, where it says "prospective use cases," we     18      Q Take your time.
19   have a number of examples on pages 13 through 15,   19      A No, it didn't.
20   correct?                                            20      Q On the same trip to New York for the
21       A Correct.                                      21   public announcement, did you have private meetings
22       Q All right.                                    22   with others about Kin?
23          So looking at these pages, at the time       23      A Yes.
24   of the token distribution event -- and just going   24      Q These were prospective participants in
25   ahead, that was in September, right?                25   the private sale, right?

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 1      A Correct.                                         1   over the world for that event.
 2      Q Did you meet with Dan Morehead --                2      Q I'll take back 12.
 3      A We did.                                          3          As Kik -- as the Kin project moved
 4      Q -- of Pantera?                                   4   forward, was it your job to keep the Board updated
 5      A We did.                                          5   on certain aspects of the project?
 6      Q That was at Kik's New York offices?              6      A Yes, in the capacity as the CFO.
 7      A We did.                                          7          (Plaintiff's Exhibit 45 was marked for
 8      Q And did you meet with a group called             8          identification.)
 9   Maple at a Manhattan Starbucks?                       9   BY MR. MENDEL:
10      A Yes.                                            10      Q I have given you what's been marked
11      Q That was the same trip, right?                  11   Deposition Exhibit -- I'll take that back.
12      A Yes.                                            12          I'm good. Okay, here is 45 back.
13      Q Following the announcement, Kik went            13   Sorry.
14   ahead and did a roadshow; isn't that right?          14      A That's okay.
15      A We met -- we had other meetings. I              15      Q So this was previously marked
16   mean, how do you -- how do you describe a            16   Investigation Exhibit 156. And it's a three-page
17   roadshow?                                            17   email chain, right?
18      Q I'm using Kik's words.                          18      A Uh-hmm.
19      A Okay. Yeah.                                     19      Q Okay. And the lead, the top email, most
20      Q It says, "from roadshow."                       20   recent, on June 12th, 2017, is from you to the Kik
21      A I think it's an improper term, but we           21   Board, including Paul Holland, right?
22   had meetings for -- with presale investors.          22      A Uh-hmm. Yes.
23      Q Did you -- was there -- were there              23      Q And it says, "Board meeting materials"?
24   presentations at conferences to people other than    24      A Yes.
25   accredited investors?                                25      Q So these were sent in advance of the
                          133                                                       135

 1       A I don't know. I didn't attend any of            1   meeting, right?
 2   those presentations or conferences. I didn't even     2      A Correct.
 3   get into May one so ...                               3      Q This was an example of you keeping the
 4       Q You participated in some of the meetings        4   Board updated?
 5   on the road.                                          5      A Yes.
 6       A I was -- the meeting that you -- two            6      Q And then down below, there's embedded --
 7   meetings you just described, I participated in        7   same day, June 12th, 2017, there's an email from
 8   with Dan Morehead, which was in the Toronto           8   Michelle Dent to the Kik Board. Is Ms. Dent an
 9   office -- New York office. And the meeting with       9   assistant?
10   Maple that I was in was sort of an ad hoc            10      A Yes.
11   introduction and we met with them at the             11      Q She's sending it on your behalf, right?
12   Starbucks. We didn't get into the conference so      12      A Yes.
13   we went over to the Starbucks, and we were sitting   13      Q And the message is "Gentlemen, the main
14   there, and someone came along and introduced us to   14   purpose for this meeting is to provide you more
15   Maple.                                               15   insight into the proposed Kin offering and the
16       Q How did the CFO not get into the               16   regulatory hurdles we are navigating," right?
17   conference?                                          17      A Correct.
18       A It was a pretty -- William Mougayar was        18      Q You wrote that, right?
19   pretty embarrassed, but what happened was they had   19      A Yes.
20   more people coming in than what the fire             20      Q "At this time we have approximately
21   regulations allowed. So the building security        21   30 million in purchases, i.e., rights to acquire
22   themselves shut a number of people out. It was       22   Kin in the public offering committed in executed
23   not a pretty scene.                                  23   term sheets and another 13 million in email
24       Q It was a widely attended event.                24   commitments. So the presale is moving quite
25       A Well, because people came from, yes, all       25   quickly, and we would like the Board approvals

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 1   necessary to be able to close on the presales         1      A Correct.
 2   quickly."                                             2      Q And this is a June 15th email from you
 3         That reflected the status at the time?          3   to Mr. Livingston, correct?
 4      A Yes.                                             4      A Correct.
 5      Q And that's what you asked the Board for?         5      Q And it's forwarding an email from Dan
 6      A Correct.                                         6   Morehead to you and Tanner Philp same day,
 7      Q And then also there's -- under -- just           7   June 15th, 2017. And Mr. Morehead, just to remind
 8   skipping, down below, "The following documents are    8   us, is -- he's with Pantera, right?
 9   attached and will help guide the Board on its         9      A Correct.
10   approvals. 1, Kin legal risk assessment              10      Q Was Pantera the lead accredited
11   memorandum that Cooley has provided for your         11   investor?
12   review."                                             12      A They were the largest, yes.
13         Did I read that correct?                       13      Q Did they buy the most?
14      A Correct.                                        14      A Yes.
15      Q Was there a legal risk memo that you            15      Q I'm skipping down below to a section of
16   sent?                                                16   the email written from Mr. Morehead to you. It
17      A Yes.                                            17   says, "ICO as planned rather than Q1."
18      Q Along with a form of the SAFT, right?           18      A Correct.
19      A Yes.                                            19      Q So there was discussion, then, about
20      Q And a draft of the private placement            20   postponing the ICO.
21   memorandum.                                          21      A Right.
22      A Correct.                                        22      Q And ICO is the Initial Coin Offering,
23      Q Those hadn't been finalized.                    23   right?
24      A No, because it was a draft form.                24      A Well, we referred to it as TDE.
25      Q Okay. So no one had signed on to the            25      Q TDE meaning what?
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 1   SAFT yet?                                             1      A   Token distribution event.
 2      A I gather not by this.                            2      Q    And Mr. Morehead refers to it as an ICO?
 3      Q But you had the commitments.                     3      A   Correct.
 4      A Yes.                                             4      Q    That's short for Initial Coin Offering?
 5      Q You also had discussions in June about           5      A   Yes.
 6   when to hold the token distribution event,            6      Q    Were they used interchangeably?
 7   correct?                                              7          MR. CADIGAN: Objection.
 8      A Where does it say that?                          8       A Not by us.
 9      Q Not in that one. I'll take it back.              9       Q Not by you.
10   Sorry. Didn't mean to --                             10          Did others -- did accredited investors
11      A Okay.                                           11   use the term "ICO"?
12      Q -- trick you there.                             12       A I can't recall other than looking at
13          Just in general, from your memory, in         13   this.
14   June -- let me ask it again. In June 2017, did       14       Q Does this email reflect an earlier
15   the Board also have discussions about when to hold   15   discussion with Mr. Morehead?
16   the token distribution event?                        16       A Yes.
17      A I would imagine it was discussed as to          17       Q You had asked for his input on delaying
18   when it would occur, but as far as a specific        18   the token distribution event to build more
19   date, I'm not sure if that was defined at that       19   functionality into the token; isn't that right?
20   meeting.                                             20       A I don't recall if that was the delay or
21          (Plaintiff's Exhibit 47 was marked for        21   the purpose of the call, whether it was to build
22          identification.)                              22   more or -- I can't really recall where we were on
23   BY MR. MENDEL:                                       23   the MVP at that point in time.
24      Q I'm giving you what's been marked               24       Q Can you take out -- we're now on
25   Deposition Exhibit 47.                               25   Exhibit 22.

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 1       A 22, okay.                                      1      A Yeah.
 2       Q This is your -- day 2 of your                  2      Q Weren't you aware of discussion in the
 3   transcript, right? Can you look at page 342 in       3   marketplace about the SEC coming out with
 4   Exhibit 22, line 8.                                  4   guidance -- with some sort of statement about
 5          Can you read for me, to yourself,             5   cryptocurrencies?
 6   lines 8 to 15?                                       6      A There was sort of some discussion, yes.
 7       A Yes.                                           7      Q You were anticipating that, weren't you?
 8       Q Does this refresh your memory of what --       8      A I was anticipating that was through
 9       A Yes.                                           9   attorney discussions.
10       Q Okay. So is it the case, then, that you       10      Q Okay. It appears that Mr. Morehead was
11   were --                                             11   also referencing that; is that right?
12       A Can I just finish reading the rest of         12      A Yes.
13   the --                                              13      Q I'll take that back.
14       Q Absolutely, please.                           14          (Plaintiff's Exhibit 49 was marked for
15       A (Document review.)                            15          identification.)
16          Okay.                                        16   BY MR. MENDEL:
17       Q So, then, you were discussing with            17      Q I'm giving you what's been marked
18   Mr. Morehead about his input on -- for his input    18   Deposition Exhibit 49. That's Investigation
19   on delaying the TDE to build more functionality     19   Exhibit 181.
20   into the token, right?                              20          And 49 is an email from Nancy Wojtas to
21       A Correct.                                      21   you, just to you, on June 14th, 2017.
22       Q And Mr. Morehead responded, "Who is the       22          She's the lawyer at Cooley, correct?
23   second African-American to play MLB," right?        23      A Correct.
24       A Yes.                                          24      Q She's outside counsel?
25       Q And you understood from Mr. Morehead          25      A Correct.

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 1   that he did not want to be -- that was a             1       Q And she's sending you -- it says,
 2   rhetorical question.                                 2   "Peter, here is the draft, copied below, on the
 3       A Right.                                         3   attached org document."
 4       Q Right?                                         4           So she's sending you a draft email.
 5          You understood from Mr. Morehead that he      5       A Uh-hmm.
 6   did not want Kik to postpone its TDE, right?         6       Q And this is -- at the top she states, or
 7       A That's correct.                                7   in the draft email -- "At the last board meeting,
 8       Q Because he wanted the name -- the name         8   before Fred and Jim had to drop off the call, the
 9   recognition of being first.                          9   proposed course of action suggested to ensure
10       A Correct.                                      10   minimum risk to the company and the Board, in
11       Q And you understood that Mr. Morehead          11   recognition of the frothiness of the
12   thought being first to market was really critical   12   cryptocurrency markets generally at this time, was
13   to the success of the token, right?                 13   to conduct 100 million presale and eliminate the
14       A Correct. And that's as we discussed           14   public token distribution event. The conversion
15   earlier, that being first to market was really      15   of the SAFT rates into Kin would occur at the time
16   important.                                          16   Kin Ecosystem was fully functional versus at the
17       Q He wrote also in this same email, "The        17   time there was a minimum viable product."
18   ICO market is white-hot. There's also a chance      18   Correct?
19   that the ICO window closes adverse SEC reaction."   19       A Correct.
20   Correct?                                            20       Q She wrote that?
21       A Correct, that's what he said.                 21           So, according to this email, the Board
22       Q And around this time there was talk in        22   considered just selling to accredited investors
23   the marketplace that the SEC was going to be        23   until the Kin Ecosystem was "fully functional"; is
24   issuing guidance, correct?                          24   that right?
25          MR. CADIGAN: Objection.                      25       A Correct.

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 1       Q You have no reason to doubt that the            1       Q Who created this document?
 2   Board consider this proposal, right?                  2       A I honestly can't remember if I did or
 3       A Right.                                          3   someone else in the meeting did.
 4       Q In fact, it's likely the Board did              4       Q Is it memorializing what was discussed
 5   consider this proposal.                               5   in a meeting?
 6       A They did.                                       6       A Yes.
 7       Q That's not the option the Board adopted,        7       Q There's a bubble comment to the right
 8   right?                                                8   that says, "Assigned to Peter Heinke," right?
 9       A That's right.                                   9       A Yes.
10       Q It decided -- the Board proceeded with         10       Q So you were in this meeting, correct?
11   the token distribution event before the Kin          11       A Correct. I think I was in the meeting.
12   Ecosystem was fully functional, right?               12       Q You later reviewed the document -- if
13       A Well, it depends what you're defining as       13   you didn't write it, you definitely reviewed the
14   fully functional. I can't recall what we were        14   document.
15   describing as fully functional versus what the       15       A Yes, I did.
16   minimum viable product was.                          16       Q So that summer, the summer of 2017, you
17       Q Well, it decided to proceed with the TDE       17   worked to increase coverage for Kik's officers and
18   before what you considered full functionality was,   18   directors?
19   right?                                               19       A Correct.
20       A I can't recall what we discussed in            20       Q And then under "Topics of Discussion" in
21   terms of full functionality versus minimum viable    21   Exhibit 53, there's a number of bullets. The
22   product.                                             22   first bullet is "Compliance is our biggest
23       Q The Board thought the MVP was                  23   concern."
24   sufficient?                                          24       A Correct.
25       A I thought it was sufficient for what we        25       Q The third bullet says, "View the raise
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 1   needed it for, which are the things that we           1   as a security." And then the fourth bullet down
 2   described before.                                     2   states, "Complying with Howey test (viewed as a
 3      Q I'll take that back.                             3   security)," right?
 4          (Plaintiff's Exhibit 53 was marked for         4       A Correct.
 5          identification.)                               5       Q And then the third bullet that said
 6   BY MR. MENDEL:                                        6   "View the raise as a security," there's a dotted
 7      Q I'm providing you, Mr. Heinke, with              7   line to the bubble "Commented [1]," and the bubble
 8   what's been marked Deposition Exhibit 53,             8   comment says, "The SAFT is a security, however,
 9   previously in the investigation marked as 183.        9   the tokens are not a security. Peter@kik.com can
10          This is a document that says at the top,      10   you confirm?"
11   "6-13-17, Andy Sloan, Magnes, Inc., Re: Initial      11           And this was assigned to you?
12   Kin Insurance Meeting Notes," right?                 12       A Yes.
13      A Correct.                                        13       Q So this was an issue that you worked on.
14      Q What's your understanding of what this          14       A Yes.
15   document is?                                         15       Q And then there's a comment at -- there's
16      A This was a discussion of what sort of           16   another comment -- bubble comment directly below,
17   insurances we should probably take a look at         17   and this corresponds to the fourth bullet in the
18   having.                                              18   document, "Complying with Howey test (viewed as a
19      Q Who is Andy Sloan?                              19   security)."
20      A He's the principal of the brokerage --          20           It says, "Yes, we used the Howey test."
21   insurance broker Magnes. They have been our          21   That was you responding?
22   insurance company since pretty much day one -- or    22       A I believe so, yes.
23   broker.                                              23       Q And you discuss with Andy Sloan of
24      Q That's who you continue to work with?           24   Magnes whether Kik was complying with the Howey
25      A That's correct.                                 25   test, right?

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 1        A I believe so.                                 1           MR. MENDEL: Probably like 15 minutes.
 2        Q And what did you tell Mr. Sloan in that       2           THE WITNESS: Oh, yes, that's fine.
 3   regard?                                              3           MR. MENDEL: Does that work?
 4        A I can't recall exactly what I said at         4           MR. CADIGAN: Yes.
 5   the time. I mean, if you go further down, our        5           THE WITNESS: Yes.
 6   bigger risk that we defined at the time was the      6           MR. CADIGAN: By "15 minutes," you mean
 7   money laundering and AML.                            7   15 minutes left in the depo or 15 minutes until
 8        Q Which appears first, "view the raise as       8   the break?
 9   a security" or the money-laundering concerns?        9           MR. MENDEL: I was thinking 15 minutes
10        A Howey appears first, but if you look at      10   until lunch, and then we can talk at lunch about
11   it, the other one that's identified is the          11   how much longer I have.
12   high-risk issue.                                    12           MR. CADIGAN: Okay.
13        Q Where does it say high-risk?                 13           (Plaintiff's Exhibit 67 was marked for
14        A "High-risk issues - Money laundering.        14           identification.)
15   AML risk. Policies in place to mitigate risk."      15   BY MR. MENDEL:
16        Q That's the seventh bullet down, right?       16       Q I'm handing you, Mr. Heinke, what's been
17        A Yes. I don't think there was any             17   marked as Exhibit 67.
18   priority with respect to where the dot existed in   18       A Correct.
19   that discussion.                                    19       Q This is a newly marked exhibit. It's an
20        Q This was dated in June?                      20   email chain. At the top it says from Angela
21        A Correct.                                     21   Watkins to you, Peter Heinke, Tuesday, July 18th,
22        Q Down below, under "Actions to be             22   2017. It's forwarding -- she says, "Forwarding
23   Taken" --                                           23   this Insurance overview from Chris," Chris Cameron
24        A Yes.                                         24   at Magnes Group.
25        Q -- "Reassess D&O insurance. Penalties        25           Who is Angela Watkins?

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 1   are not insurable. (Jail time, etc.)"                1       A She was our sort of office manager or
 2            Then the second bullet, "Add defense        2   head of administration.
 3   costs. 10 million to expect to defend. (Fines        3       Q Who is Chris Cameron?
 4   are not insurable.)"                                 4       A He is from the brokerage firm, Magnes.
 5            Is that correct?                            5       Q He worked with Andy Sloan?
 6       A Correct.                                       6       A Correct.
 7       Q Then go to the next page, please.              7       Q I'm just going to skip down to the email
 8   Actually, go to the third page.                      8   that's going to Angela from Mr. Cameron. He
 9       A This is 8244?                                  9   writes in part, after the first paragraph, "In
10       Q You got it. Summary of current                10   broad terms, we see the potential for a loss
11   policies, limits -- "Summary of current policies,   11   coming from two main areas, the investor side and
12   limits, new limits suggested." And there's a        12   the operational side." Then he says, "Investor
13   chart that seems to be cut and pasted showing       13   issues will generally come from two areas," and he
14   coverage summary, current coverage, suggested       14   lists two bullets. And I'll read from the second
15   coverage to extend, and notations, right?           15   bullet.
16       A Uh-hmm.                                       16           Well, the first bullet says, to start,
17       Q Did Kik move from a $15 million D&O           17   "Any failure of Kik to perform as the investors
18   policy to a $25 million policy?                     18   expect," right?
19       A I believe so.                                 19       A Correct.
20            MR. MENDEL: I'll take that exhibit         20       Q Then the second bullet states -- I'll
21   back.                                               21   just read it in full -- "With the advent of Kin,
22            How are you doing? Can we go a little      22   we now have the potential for regulatory issues to
23   while longer?                                       23   develop if the SEC determines that Kin is, in
24            THE WITNESS: How long do you think this    24   fact, a security and not a product. An SEC
25   will ...                                            25   investigation would trigger defense costs, fines,

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 1   and penalties, as well as a likely investor suit      1   types of claims would fall under the D&O space.
 2   should there be any direct impact on the value of     2   We have a D&O policy in place already and are
 3   their investment."                                    3   working to replace our primary insurer because
 4           Did you read this when you got it?            4   they cannot accommodate anything FI related."
 5       A Yes.                                            5          Did you understand that's what he was
 6       Q Was this consistent with your prior             6   doing?
 7   concerns?                                             7      A Yes, because we would have -- this would
 8           MR. CADIGAN: Objection.                       8   have been an instruction from the Board to likely
 9       Q Was this consistent with your prior             9   look at the insurance, and we would always update
10   concerns about the securities law issue that you     10   the Board with where the insurance was.
11   had previously flagged for the Board?                11      Q What does "FI related" mean?
12           MR. CADIGAN: Objection. Just, again,         12      A I'm not sure. I think it's financial
13   to the extent that any prior concerns are informed   13   instruments, but I can't -- it's conjecture on my
14   by discussion with counsel, I'll ask you not to --   14   behalf.
15       A Yes, they are. They are informed by            15      Q I'll take that one back.
16   discussions with counsel.                            16          (Plaintiff's Exhibit 68 was marked for
17       Q Okay. Just the part of my question that        17          identification.)
18   asked if this was consistent with your concerns,     18   BY MR. MENDEL:
19   you can't answer that without getting into           19      Q I've handed you what's been marked
20   discussions with counsel, correct?                   20   Deposition Exhibit 68, formerly Exhibit 19C in the
21       A Right. Correct.                                21   investigation. It's an email dated August 3rd,
22           MR. MENDEL: And so are you instructing       22   2017 from Katie Tonin to the Kik Board, and there
23   Mr. Heinke not to answer the question?               23   are others listed on the cc line, including
24           MR. CADIGAN: Yes.                            24   Mr. Livingston and Nancy Wojtas.
25                                                        25          Do you see that?
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 1   BY MR. MENDEL:                                        1       A Yes.
 2       Q Did you disagree with this statement?           2       Q But you received this as a Kik board
 3       A Did I disagree with the statement?              3   member, right?
 4       Q The second bullet that I read out loud,         4       A Correct.
 5   did you disagree with Mr. Cameron's assessment?       5       Q This is a board deck for the August 3rd
 6   Again, can you answer that question without --        6   board meeting, correct?
 7       A No. It relates to the discussions I had         7       A Correct.
 8   with counsel.                                         8       Q If you go to page 6109, it says,
 9           MR. MENDEL: Mr. Cadigan, do you               9   "Insurance Admin Update," right?
10   instruct the witness not to answer?                  10       A Correct.
11           MR. CADIGAN: Again, to the extent that       11       Q Was this your update?
12   it reflects discussions with counsel, I definitely   12       A Yes.
13   instruct him not to answer.                          13       Q It says, "D&O insurance. Kik currently
14   BY MR. MENDEL:                                       14   evaluating D&O policies. Received quotes from two
15       Q And you can't answer that question             15   of the 20 applications. Limit of 25 million,
16   without getting into discussions with counsel?       16   deductible 25,000, for cost of 55,000 per year."
17       A That's right, yes.                             17          That's right?
18       Q What did you do with the information in        18       A Correct.
19   the email that you received from Chris Cameron via   19       Q Is this an accurate summary?
20   Angela Watkins?                                      20       A I believe so.
21       A What did I do with it?                         21       Q Is this you following up on information
22       Q Yes.                                           22   you had received from The Magnes Group?
23           Did you forward it?                          23       A Yes, I would assume so.
24       A I'm not sure if I forwarded it or not.         24       Q That's all I have for that one. I'll
25       Q Mr. Cameron had also written, "These           25   take it back. Thank you.

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 1          (Plaintiff's Exhibit 69 was marked for         1   that you had received that's reflected in Exhibit
 2          identification.)                               2   67. Again, comparing the two emails, this is a
 3   BY MR. MENDEL:                                        3   little bit different than what you had heard in
 4       Q Mr. Heinke, I've provided you with              4   July, right?
 5   what's been marked as Deposition Exhibit 69. This     5        A Yes.
 6   is an email from Chris Cameron at Magnes to you       6        Q Now, the D&O markets have been replaced
 7   directly, dated September 17th, 2017. Do you see      7   by Magnes; is that right?
 8   that?                                                 8        A Sorry?
 9       A Yes.                                            9        Q The -- Mr. Magnes says, "We have
10       Q He says in his email to you, "Hi, Peter.       10   replaced our D&O markets," and that's --
11   Per our call Friday, here is a short summary. Be     11        A No, it's Mr. Cameron. Magnes is the
12   prepared." And then it's forwarding another email    12   company.
13   that he had sent that's dated July 18th, right?      13        Q I apologize.
14   And it's sent to Angela Watkins? Do you see that?    14        A That's okay.
15       A Yes.                                           15        Q Mr. Cameron has --
16       Q I'm handing you back Deposition Exhibit        16        A Yes.
17   67 so you can read 67 and 69 together.               17        Q Mr. Cameron is saying he replaced the
18          So going back to 67, the embedded email       18   D&O markets, right?
19   from Angela to Chris Cameron -- I'm sorry, the       19        A Right.
20   embedded email from Chris Cameron to Angela in       20        Q Are those like secondary insurers?
21   Exhibit 67 that I read from, it's very similar to    21        A I'm not sure, when you say "secondary."
22   the email by the same date, July 18th, in the new    22        Q When he says "replaced our D&O markets,"
23   Exhibit 69, correct?                                 23   what does that mean?
24       A Yes. Sorry, the --                             24        A I think he has different insurers that
25       Q So my question is this. There's two            25   he goes out to, and he brokers the insurance. So
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 1   embedded -- in each -- each exhibit has an            1   he's probably -- in this case he's gone out and
 2   embedded email from Angela Watkins to Chris           2   he's got other insurers that are -- it says here,
 3   Cameron dated July 18th, right?                       3   "who are more comfortable with the FI space."
 4       A Correct.                                        4          So it's probably just an insurance
 5       Q And Exhibit 69, which is the separate           5   company that he's replaced.
 6   September 17th email from Chris Cameron to you, he    6      Q Very well.
 7   presents this as a short summary, does he not?        7      A I don't know about secondary or ...
 8       A Yes.                                            8      Q That was my wording, right?
 9       Q And the first -- the bullet that I read,        9      A Yes.
10   starting, "With the advent of Kin," that appears     10      Q You just understood that he had replaced
11   exactly the same in both exhibits, right?            11   the pool of insurance companies that they were
12       A Correct.                                       12   pursuing policies from?
13       Q It's part of his summary to you on             13      A Correct.
14   September 17th, 2017.                                14      Q I'll take 69 and the other one back from
15       A Correct.                                       15   you.
16       Q The next language seems to have changed        16          (Plaintiff's Exhibit 70 was marked for
17   a little bit. It states, "These types of claims      17          identification.)
18   would fall under the D&O space. We have replaced     18   BY MR. MENDEL:
19   our D&O markets to use insurers who are              19      Q I'm now giving you what's been marked
20   comfortable with the FI space and have increased     20   Exhibit 70, and this was Exhibit 22C in the
21   our total limit to 25 million to more adequately     21   investigation. But this is newly marked and was
22   guard against the increased exposure."               22   not in your prior investigative testimony as far
23            Did I read that correctly?                  23   as I know.
24       A Correct.                                       24      A Okay.
25       Q So this is an update since the email           25      Q So this is from Brandon Brunet to Kik

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 1   Board; cc to Ted@kik.com and you, Peter Heinke,       1      A Yes.
 2   October 30th, 2017.                                   2      Q Did Kik's D&O insurance coverage cover
 3          Do you recognize this?                         3   the foundation directors?
 4        A Do I recognize it? No, not offhand, but        4      A No. That's what we had a separate
 5   it's obviously something that was sent.               5   insurance policy.
 6        Q These are a list of approvals sought for       6      Q But it says, "D&O covers all Kik
 7   the board meeting?                                    7   umbrella entities, including proposed directors of
 8        A Okay.                                          8   the Kin Ecosystem Foundation."
 9        Q Is that right?                                 9      A I'm not sure if that's correct. I would
10        A Correct.                                      10   have to go back. I know there was a lot of
11        Q Then let's look at the page ending in         11   discussion even right from the start about having
12   242.                                                 12   the Foundation insured separately.
13        A "Budget versus actual." Oh, that's 243.       13      Q Right. It says below, "Foundation" --
14   Okay.                                                14      A Right.
15        Q This says, "Insurance Update"?                15      Q -- "will require separate insurance
16        A Yes.                                          16   policy."
17        Q So this is in October, October 2017.          17          But this suggests that the directors
18   We're beyond the token distribution event, right?    18   were covered by Kik's D&O policy.
19        A Yes.                                          19      A Yes, that is what this is saying.
20        Q Are you a director of the Foundation by       20      Q Do you have any reason to think that
21   this point?                                          21   didn't happen?
22        A Yes.                                          22      A I remember there was a lot of discussion
23        Q And you're still on the Kik Board,            23   going on. I can't recall whether we -- this is
24   right?                                               24   saying that we did, but I don't see -- do you have
25        A Yes.                                          25   any -- is there any document from Chris Cameron
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 1      Q This insurance update says, "Increased           1   where he talks about the Foundation?
 2   Director's and Officer's (D&O) insurance by           2       Q I don't have anything with me here.
 3   10 million (25 million in total)."                    3       A Okay. So I would have to -- I would
 4          So the increase had occurred?                  4   have to go back and take a look at something to
 5      A Yes.                                             5   ensure that was the case.
 6      Q This is just an update, right? They had          6       Q Wouldn't you have been careful when you
 7   approved it already and it's been updated.            7   wrote the update, though, to be accurate?
 8      A Correct.                                         8       A I don't know if I wrote this or if
 9      Q Then it says, "D&O covers all Kik                9   Brandon did.
10   umbrella entities, including proposed directors of   10       Q In any event, the D&O insurance had been
11   the Kin Ecosystem Foundation."                       11   raised by 10 million to 25 million, right --
12          What does "umbrella entities" mean?           12       A Correct.
13      A I would assume that means all the               13       Q -- for Kik?
14   subsidiary companies.                                14         Very well.
15      Q Okay. But directors of the Kin                  15         MR. MENDEL: Off the record.
16   Ecosystem Foundation were considered umbrella        16         THE VIDEOGRAPHER: We're going off the
17   entities?                                            17   record. This is the end of media unit number 2.
18      A No, that's why I think he's put it              18   The time is 12:29 p.m.
19   separately, "including proposed directors of the     19           (A brief recess was taken.)
20   Kin Ecosystem Foundation."                           20         THE VIDEOGRAPHER: We're back on the
21      Q What's an example of what an umbrella           21   record. This is the beginning of media unit
22   entity was?                                          22   number 3. The time is 1:34 p.m.
23      A An umbrella entity would be like the            23   BY MR. MENDEL:
24   U.S. company, subsidiary.                            24       Q Good afternoon, Mr. Heinke.
25      Q Of Kik.                                         25       A Good afternoon.

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 1          (Plaintiff's Exhibit 16 was marked for         1   investigation as 5, correct?
 2          identification.)                               2       A Yes.
 3   BY MR. MENDEL:                                        3       Q Is this the form of the SAFT used for
 4       Q So we're continuing. I wanted to refer          4   accredited investors?
 5   you to what's been marked as Deposition 16. It's      5       A Yes.
 6   been placed in front of you.                          6       Q This is the final one, correct?
 7       A Yes.                                            7       A I believe so, yes.
 8       Q This in the investigation was Exhibit 4.        8       Q The first page states, under "Notice to
 9          Do you recognize Exhibit 16?                   9   Residents of the United States," "The offer and
10       A Yes, I do.                                     10   sale of this security instrument has not been
11       Q This is the private placement memorandum       11   registered under the U.S. Securities Act of 1933
12   in final form?                                       12   as amended," right?
13       A Correct.                                       13       A Correct.
14       Q If you could turn to page 43 and the           14       Q So it referred to the SAFT. Simple --
15   Bates stamp -- or page 3 of the PPM. It states at    15   what we're looking at is the Simple Agreement for
16   the top, "The Development of the Kin Ecosystem"      16   Future Tokens?
17   and, at the bottom of the first paragraph, "The      17       A Yes.
18   development of the Kin Ecosystem will follow four    18       Q And the short form for that is SAFT,
19   key milestone phases."                               19   S-A-F-T.
20          Do you see that?                              20       A Correct.
21       A Yes.                                           21       Q And the first page identified it as a
22       Q That was true?                                 22   security instrument, in what I just read, the
23       A Yes.                                           23   first page.
24       Q Also on page 3, at the bottom, "Initial        24       A Not -- oh, yes, as a security
25   Launch of Kin and Kin Ecosystem," there is a         25   instrument. It has not been registered, though,
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 1   section about minimum viable product. Do you see      1   yes, that's correct.
 2   that?                                                 2      Q Are you aware of any terms of the SAFT
 3      A Yes.                                             3   changing from investor to investor?
 4      Q Okay.                                            4      A No.
 5          You thought it was important for the           5      Q Can you turn to "Definitions" on page 2.
 6   participants, via SAFTs, to have information about    6   I'm looking at the sections called "Discount
 7   the MVP, correct?                                     7   Price" and "Discount Rate." "Discount price means
 8      A Correct -- well, yes, I would say                8   the maximum price per token sold by the company to
 9   correct.                                              9   the public during the network launch, multiplied
10      Q You thought that was important, right?          10   by the discount rate."
11      A Yes.                                            11      A Correct.
12      Q Because it described what people would          12      Q Can you explain what all this means?
13   be able to do with Kin when they first bought it,    13          MR. CADIGAN: Objection.
14   right?                                               14      Q Sure. Let me be more specific. What
15      A Yes.                                            15   was the network launch, as referred to in the
16      Q The MVP was not described in the white          16   SAFT?
17   paper, though, correct?                              17      A (Document review.)
18      A That's correct.                                 18          That would be the TDE, I believe.
19      Q I'll take that one back.                        19      Q The token distribution event?
20          Here's number 52.                             20      A Yes.
21          (Plaintiff's Exhibit 52 was marked for        21      Q Okay. And when the discount price is
22          identification.)                              22   defined as "the maximum price per token sold by
23   BY MR. MENDEL:                                       23   the company to public during the network launch,
24      Q I've given you what's been marked as            24   multiplied by the discount rate" --
25   Deposition Exhibit 52, previously marked in the      25      A Right.

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 1       Q -- was that a linkage between the price         1   Exhibit 40. And that's Deposition Exhibit 40,
 2   paid by the SAFT participant with the price of the    2   Investigation Exhibit 133.
 3   token in the token distribution event?                3           This is a list of the participants via
 4          MR. CADIGAN: Objection.                        4   SAFT, correct?
 5       A Sorry, can you -- can you just go               5       A Correct.
 6   through that again?                                   6       Q And as reflected on -- it's a one-page
 7       Q Sure.                                           7   list, and it lists "Participant Name," "Amount,"
 8          Was the discount price paid, was that          8   and "Date of SAFT" on the right. Do you see that?
 9   the price paid by a SAFT participant?                 9       A Yes.
10       A Yes.                                           10       Q And, as reflected on the column on the
11       Q Can you describe the linkage between the       11   right, "Date of SAFT," there are a number of SAFTs
12   discount price and the price paid in the token       12   that were executed on September 11th, 2017; is
13   distribution event?                                  13   that right?
14          MR. CADIGAN: Objection.                       14       A Correct.
15       A What do you mean by "linkage"?                 15       Q And you have -- sitting here today, you
16       Q Well -- it means, it states here that          16   have an independent memory that this occurred,
17   "the maximum price per token sold by the company     17   right, that certain SAFT participants signed their
18   to the public during the network launch,             18   paperwork on September 11th, 2017, right?
19   multiplied by the discount rate."                    19       A Yes.
20       A Right.                                         20       Q On the Exhibit 133, further, you see
21       Q And the discount rate is defined in the        21   about two thirds of the way down, "Maple Ventures,
22   SAFT, right?                                         22   LLC." Do you see that?
23       A Okay.                                          23       A Yes.
24       Q At 70 percent?                                 24       Q They bought for $4,500,000?
25       A That's what you're defining as linkage,        25       A Correct.
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 1   okay.                                                 1        Q And you met them in New York on or
 2      Q And so, was the price paid by the SAFT           2   around May 25th during the announcement of Kin,
 3   participant discounted from the token distribution    3   correct?
 4   event price?                                          4        A Correct.
 5      A Yes.                                             5        Q And you see Pantera Capital Management
 6      Q And, according to this final SAFT, it            6   is listed for $15 million?
 7   was discounted 70 percent.                            7        A Correct.
 8      A That's correct.                                  8        Q You also met them in New York that same
 9      Q So by the terms of the SAFT, did the             9   time, correct?
10   price paid by the SAFT participant depend on the     10        A Yes.
11   price paid in the token distribution event?          11        Q Great.
12      A Yes.                                            12           I'll take that one back, please.
13          MR. CADIGAN: Objection.                       13           During the summer of 2017, it was
14      Q You can answer that. Yes?                       14   decided within Kik to approach the Ontario
15      A Yes.                                            15   Securities Commission about Kik's plans to issue
16      Q If the price in the token distribution          16   Kin, correct?
17   event changed, so too did the price paid by the      17        A Correct.
18   SAFT participant for one token, correct?             18        Q And Ontario Securities Commission, the
19          MR. CADIGAN: Objection.                       19   acronym for that is OSC?
20      Q You can answer.                                 20        A Correct.
21      A Yes.                                            21        Q You have heard that at least particular
22          (Plaintiff's Exhibit 40 was marked for        22   people at the OSC were upset; isn't that right?
23          identification.)                              23        A I'm not sure what the --
24   BY MR. MENDEL:                                       24           MR. CADIGAN: Objection. I just caution
25      Q I've given you what's been marked               25   you, to the extent that any of the bases is based

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 1   upon communications, conversations with counsel, I    1       Q Okay. But this was the issue, wasn't
 2   instruct you not to answer.                           2   it, whether Kin was a security or not?
 3          THE WITNESS: Okay.                             3       A Yes.
 4          MR. CADIGAN: But to the extent it              4       Q You had the meeting, right?
 5   wasn't, go for it.                                    5       A Correct.
 6      A No, that's -- I don't know if I would            6       Q You attended?
 7   use the term "upset," but they wanted to -- they      7       A Yes, I did.
 8   heard about our -- what we were doing with Kin,       8       Q Mr. Livingston and Mr. Philp attended?
 9   and they wanted to know -- they didn't have any       9       A Correct.
10   knowledge about it.                                  10       Q Kik's counsel, Ross McKee, attended?
11      Q Well, let's take a look at your                 11       A Correct.
12   transcript. Can you go to page 431 of your           12       Q Kik's counsel from Cooley, Nancy Wojtas,
13   transcript.                                          13   attended by phone?
14      A (Document review.)                              14       A Correct.
15      Q Look at line 1618.                              15       Q Anybody else?
16          I'll read -- this is your answer to a         16       A I'm not sure whether Eileen was with us
17   prior question. "So on that basis we said sure,      17   at that point in time yet or not, so I can't
18   and we set up a meeting with them, and someone       18   recall if she was on the call or not.
19   said they were a little upset."                      19       Q Mr. Ross McKee, he's from a law firm
20          Does that refresh your memory?                20   known as Blakes?
21      A I guess so. I didn't recall using that          21       A That's correct.
22   term, but that's fine, I guess, here.                22       Q During the meeting, Mr. McKee discussed
23          Yes, we didn't understand why they were       23   whether Howey would apply to Kik's issuance of
24   upset, that's correct.                               24   Kin; isn't that right?
25      Q But you believed it came down to the            25       A That's correct.
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 1   view of whether Kin was a security or not,            1          (Plaintiff's Exhibit 58 was marked for
 2   right --                                              2          identification.)
 3       A No.                                             3   BY MR. MENDEL:
 4       Q -- in terms of what their -- what the           4       Q I'm showing you what's been marked as
 5   reason for the discord could be?                      5   Exhibit 58.
 6       A I think it was that they -- whether it          6       A Correct.
 7   was a security or not, but they knew we were --       7       Q This is a letter from -- on Blakes
 8   they had heard about it through other people, and     8   letterhead dated November 2nd, 2017, again,
 9   they wanted to -- they didn't know anything about     9   Deposition Exhibit 58. This was Deposition -- I'm
10   it.                                                  10   sorry, this was Exhibit 186 in the investigation.
11           So I think at the time William Mougayar      11          Do you recognize this?
12   was informing us about that, and I think I           12       A Yes.
13   mentioned that, yes, he was our advisor.             13       Q I'm reading in the middle of the first
14           So he had heard the OSC, I would say,        14   page. "The meeting on August 14th was in fact
15   someone was questioning like what were we doing      15   inconclusive. Notes indicate that the closest the
16   because we were getting questions about our          16   OSC staff present came to expressing a position
17   offering.                                            17   was for Pat Chaukos to say, 'I'm not sure we're
18       Q Can you read to yourself your answer on        18   where you are.'"
19   lines 19 to 22.                                      19          This is Mr. McKee writing in the letter,
20       A "And someone said they were a little           20   correct?
21   upset, and we said we don't understand why they      21       A Yes.
22   were upset. And, again, it came down to the view     22       Q And so the meeting took place on
23   whether this was a security or not. And we felt      23   August 14th?
24   it wasn't, and so we went in there to have a         24       A That's correct.
25   discussion with them."                               25       Q You'll recall a board meeting that we

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 1   looked at this morning on or about August 3rd,        1   the OSC could find that the token distribution
 2   right, when you -- in which you had discussed         2   event constituted an offering of securities?
 3   raising D&O coverage; is that right?                  3       A I think that's speculative. I mean, we
 4       A Correct.                                        4   didn't know what framework they were using. So
 5       Q So this is 11 days after that meeting           5   until they came up with a framework, we were -- it
 6   about raising D&O coverage?                           6   was a guess as to what they were going to -- how
 7       A Correct.                                        7   they were going to evaluate it.
 8       Q Then two paragraphs down in this letter         8       Q I guess, my question was what -- you
 9   on Exhibit 58, "In fact, the first time that the      9   were concerned that they could find that it was an
10   OSC staff definitively communicated a position       10   offering.
11   that the ITD constituted an offering of securities   11       A They could, yes.
12   was in the telephone call to me from Ms. Chaukos     12       Q And that factored into your decision,
13   on September 5, shortly before the scheduled         13   correct?
14   launch date."                                        14       A It was part of it because they had also
15          Did I read that correctly?                    15   told us about the Quebec Securities Commission.
16       A That's correct.                                16   So -- I think I spoke about it in my testimony,
17       Q By "ITD," McKee is referring to the            17   but in Canada each provincial securities
18   token distribution event?                            18   commission is regulated independently, and they
19       A Correct.                                       19   have this overriding Canadian Securities
20       Q Within a few days of September 5th, did        20   Association, and each province takes a turn at
21   Kik make a decision about selling Kin tokens to      21   running that overall, and Quebec was running it at
22   people in Canada?                                    22   the time so someone said we should also talk to
23       A I'm not sure exactly the date of when we       23   Quebec.
24   decided not to sell Kik tokens in Canada. I know     24           We had a discussion with him, and in
25   that during the meeting it became clear that the     25   that discussion we raised the fact that from
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 1   OSC hadn't had a position and they hadn't had         1   discussion with our tax and audit advisors, that
 2   decided on what sort of framework they would use      2   they would view this as a sale of a product and
 3   to value whether something -- evaluate whether        3   that it would be taxable. So he said those were
 4   something was a security or not.                      4   pretty good arguments for it not being a security.
 5          Specifically, when Ross raised the issue       5   And then he asked me to send him the letter, which
 6   of the Howey test, Ms. Chaukos' response was that     6   I did, and then I didn't hear anything back from
 7   she looked at it as an old framework or something     7   him.
 8   to that extent.                                       8       Q When you say "he," who are you talking
 9       Q You remember that, sitting here today?          9   about?
10       A Yes, I do, because that was the basis of       10       A The fellow at the -- I forget what his
11   that we didn't -- they didn't know on what basis,    11   name is, but the Quebec -- I think there's
12   how they were going to review it or against what     12   somewhere in the documents, there's whoever was
13   test. And I think -- my understanding is, I          13   head of the -- I don't think it was head, but head
14   believe, since then they haven't even -- they're     14   of regulatory or something. There were two people
15   not using the Howey test, but I can't recall that.   15   on the phone. There was a gentleman and a lady at
16       Q So then why did you decide not to              16   the Quebec Securities Commission.
17   proceed with the sale in Canada?                     17       Q When was this phone call?
18       A Because we didn't know on what basis           18       A It was probably around the time just
19   they were reviewing it, how they were establishing   19   shortly after our initial meeting with the OSC.
20   whether it was a security or not.                    20       Q Who was on that call?
21       Q Was it in an abundance of caution?             21       A It was Ted, I think myself, Tanner, and
22       A Pardon?                                        22   the two people from the Commission.
23       Q Were you being cautious?                       23       Q So is it fair to say that Kik was
24       A Yes.                                           24   concerned that either the OSC or the Quebec
25       Q You were concerned, were you not, that         25   Securities Commission could find that an offering

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 1   of Kin was an offering of securities?                 1       Q Do I have that right?
 2       A Yes. That would be speculative, but,            2       A Yes.
 3   yes, I would agree.                                   3       Q So, I said -- so in the November 2nd
 4       Q Well, you didn't know what they were            4   Blakes letter, where it refers to --
 5   going to decide.                                      5       A Sorry, it says -- it wasn't a letter
 6       A No.                                             6   from Chaukos. It was a telephone phone call with
 7       Q That was your testimony, right?                 7   Chaukos.
 8       A Yes.                                            8       Q Thank you for clarifying.
 9       Q But Kik was concerned about what they           9       A Okay.
10   could decide.                                        10       Q I spoke incorrectly.
11       A Right. We didn't want -- we wanted to          11       A Yes.
12   comply, and so we didn't want to do something that   12       Q So just to make the record clear, the
13   would breach that, and they hadn't made a decision   13   Blakes letter in Exhibit 58 states that "In a
14   about what framework they were using to evaluate     14   telephone call from Ms. Chaukos on September 5th,
15   it.                                                  15   the OSC staff definitively communicated a position
16       Q And on that basis you decided not to           16   that the ITD constituted an offering of
17   offer the Kins in Canada, correct?                   17   securities," right?
18       A Correct.                                       18       A Right.
19       Q I'll take back 58.                             19       Q Okay. So two days after that phone call
20       A 58 and -- do you want both of these?           20   on September 5th, on September 7th the
21   You have 52 there also.                              21   announcement came out from Mr. Livingston that
22       Q That's fine.                                   22   Canadians were excluded, correct?
23          (Plaintiff's Exhibit 59 was marked for        23       A Correct.
24          identification.)                              24       Q Thank you.
25                                                        25          In late August, Kik announced the

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 1   BY MR. MENDEL:                                        1   schedule for its token distribution event?
 2       Q I'm showing you what's been marked              2      A I believe so.
 3   Deposition Exhibit 59, which was in the               3      Q Is it your recollection Kik issued a
 4   Investigation Exhibit 187. It says at the top,        4   press release on August 29th, 2017, announcing
 5   "Canadian Residents Excluded from Next Week's Kin     5   that the event would start September 12th?
 6   TDE." It's dated September 7, 2017.                   6      A I don't recall the press release, but do
 7           Do you recognize this?                        7   you have it there?
 8       A Yes.                                            8           (Plaintiff's Exhibit 55 was marked for
 9       Q This was a Medium post by                       9           identification.)
10   Mr. Livingston, correct?                             10   BY MR. MENDEL:
11       A Correct.                                       11      Q I'm handing you what's been marked
12       Q Announcing that Kin wouldn't be sold to        12   Deposition Exhibit 55.
13   Canadians?                                           13      A Yes, that's August 29th.
14       A Correct.                                       14      Q And this was Exhibit 93 in the
15       Q This was the announcement on                   15   investigation, so, yes, this -- this is the
16   September 7th?                                       16   August 29th press release issued by Kik, right?
17       A Correct.                                       17      A Yes.
18       Q This is two days after the Blakes              18      Q It announced that the event would start
19   letter?                                              19   September 12th?
20       A Yes. Sorry. What was the date of the           20      A Yes.
21   Blakes letter?                                       21      Q It says, "Kik also announced that" -- in
22       Q It's referred to in Exhibit -- let me          22   the first paragraph -- "it has successfully closed
23   just hand you back 58 briefly. In the paragraph      23   a presale round of U.S. 50 million to select
24   it discussed a letter from Ms. Chaukos on the 5th.   24   accredited investors, including Blockchain
25       A Okay.                                          25   Capital, Pantera Capital, and Polychain Capital,

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 1   right?                                                1      Q The Foundation was formed on
 2      A Yes.                                             2   September 12th, 2017, right?
 3      Q But as we discussed previously, certain          3      A Correct.
 4   SAFTs were entered into after this date, on           4      Q The Foundation had no operations between
 5   September 11th, right?                                5   the date of its formation on September 12th, 2017,
 6      A Right.                                           6   and the token distribution event, right?
 7      Q And then at the bottom it says, "To              7      A Right.
 8   learn more about Kin and to register for the TDE,     8      Q Directors were announced -- when the
 9   please visit kin.kik.com. All who want to             9   Foundation was formed, the directors were you and
10   participate in the TDE must register by              10   Mr. Livingston, right?
11   September 9th." Right?                               11      A Correct.
12      A Correct.                                        12      Q When formed, the Foundation was not
13      Q I'll take that back. Actually, just             13   independent of Kik, right?
14   keep it for the moment.                              14      A I'm not sure how -- I'm not sure what
15          (Plaintiff's Exhibit 60 was marked for        15   the structure was of the foundation offhand
16          identification.)                              16   because it's a trustee organization so it doesn't
17   BY MR. MENDEL:                                       17   have a share structure, per se.
18      Q I'm providing you what's been marked            18      Q Right.
19   Deposition Exhibit 60. This was Exhibit 93 in the    19          Can you look at your transcript, please,
20   investigation. And this is the September 12th        20   on page 455.
21   press release by Kik that the token distribution     21      A Yes. (Document review.)
22   event was commencing, correct?                       22          Okay.
23      A Correct.                                        23      Q The question at -- well, the sequence
24      Q And it gives information about the              24   starts on the bottom of page 455, line 21.
25   results of what it called the presale, right?        25      A Okay.
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 1     A     Correct.                                      1       Q "Okay." And this is a question. "Okay.
 2          (Plaintiff's Exhibit 61 was marked for         2   So, at the time, at the token distribution event,
 3          identification.)                               3   had people decided, well, let me -- sorry, when it
 4   BY MR. MENDEL:                                        4   was formed, who were the directors?"
 5       Q I handed you what's been marked                 5           Answer, "Directors at that time would
 6   Deposition Exhibit 61, right, that was Exhibit 95     6   have been Ted Livingston and myself."
 7   in the investigation?                                 7           Question --
 8       A Yes.                                            8       A Right.
 9       Q And this was the announcement that the          9       Q Question, "So at the time it was formed,
10   token distribution event had successfully ended,     10   was this entity independent of Kik?"
11   right?                                               11           Answer, "No."
12       A Yes.                                           12       A Well, it depends on how you define
13       Q And it states in the first sentence that       13   independence because it was set up as a trust to
14   "The token distribution event has successfully       14   hold the shares so it's not, like, owned by Kik.
15   ended, raising nearly U.S. 100 million," correct?    15   You would -- you could -- so whether it was
16       A Correct.                                       16   independent or not, it's -- I mean, it's a
17       Q I'll take all three of those back.             17   difficult question because the structure of this,
18          (Plaintiff's Exhibit 62 was marked for        18   from what I understand, is a trust.
19          identification.)                              19       Q Well, if you're just looking at the
20   BY MR. MENDEL:                                       20   identity of the directors, was it independent?
21       Q I've given you Deposition Exhibit 62,          21       A Based on that, no.
22   which was Exhibit 188 in the investigation.          22       Q Because you and Mr. Livingston were both
23          Do you recognize this as the Certificate      23   directors of --
24   of Incorporation for the Kin Ecosystem Foundation?   24       A Yes.
25       A Yes.                                           25       Q -- of Kik Interactive, right?

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 1      A Yes.                                             1       Q Who is "we"?
 2      Q Okay.                                            2       A Kik did.
 3      A However, that was not the intent at the          3       Q Kik had loaned the Foundation $100,000.
 4   time because both William Mougayar and Bill           4       A Correct.
 5   Raduchel were as designee directors.                  5       Q Did the Foundation have any other cash?
 6      Q But as designee directors, they didn't           6       A No.
 7   have a vote, correct?                                 7       Q You served on the Foundation Board until
 8      A No.                                              8   May 2018?
 9      Q At the time of the token distribution            9       A Correct.
10   event, had the Foundation done anything?             10       Q During the time you served on the
11      A No.                                             11   Foundation Board, the Foundation had no other
12      Q Had it taken any actions?                       12   directors who could vote and no employees; is that
13      A Not that I believe.                             13   right?
14      Q Not that you can remember, right?               14       A That's correct.
15      A No.                                             15       Q During the time you served on the Board
16      Q From the time of the token distribution         16   of the Foundation, the Foundation had no
17   event in September of 2017 to the end of that year   17   operations other than meetings between yourself
18   2017, the Kin Foundation was not independent of      18   and the other -- and Mr. Livingston and
19   Kik, as identified by their directors, correct?      19   Mr. Mougayar and Mr. Raduchel, correct?
20      A Correct.                                        20       A Correct.
21      Q And by the end of 2017, the Kin                 21       Q And the Foundation did receive Kin
22   Ecosystem Foundation was not operating, right?       22   during the token distribution event, right?
23      A It wasn't operating, but we did have            23       A Yes, I believe so.
24   meetings as though it was operating. So we had, I    24       Q Your testimony is the Foundation
25   believe, two meetings with William Mougayar and      25   obtained separate D&O insurance?
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 1   Bill Raduchel, with whom we discussed actions of      1       A Correct.
 2   the Foundation, like, i.e., we engaged McKenzie at    2       Q It was Kik that funded the Foundation's
 3   the time, and there was one other discussion, but     3   directors and officers insurance, isn't it?
 4   I can't remember what it was offhand.                 4       A Correct.
 5       Q These were meetings with you -- how do          5       Q And they funded it through the $100,000
 6   you say his name, Mougayar?                           6   that was put into the foundation bank account.
 7       A Mougayar.                                       7       A Yes.
 8       Q Mougayar.                                       8       Q That money was only spent on insurance.
 9       A Yes.                                            9   It wasn't spent on anything else, right?
10           Bill Raduchel and Ted and myself. And I      10       A I don't recall if there was anything
11   can't recall whether anybody else was on the call.   11   else.
12       Q There were two meetings?                       12          (Plaintiff's Exhibit 71 was marked for
13       A Yes.                                           13          identification.)
14       Q Was McKenzie retained?                         14   BY MR. MENDEL:
15       A Yes.                                           15       Q I've handed you what's been marked
16       Q When?                                          16   Deposition Exhibit 71. I don't believe you were
17       A I can't recall. Like, it was in the            17   shown this in your investigative testimony.
18   fall, but I can't recall when.                       18       A No.
19       Q Did Kik pay for McKinsey's retention?          19       Q It's an email chain from December 2017.
20       A I can't recall the distribution of funds       20   At the bottom of the chain, it's an email from
21   at the time.                                         21   Chris Cameron from The Magnes Group to William
22       Q Did the Foundation have any assets to          22   Raduchel and Mr. Mougayar and a cc to you,
23   pay other than the Kin that it owned?                23   Mr. Heinke. It says, "Hi, everyone. Thanks very
24       A We had loaned over $100,000 to the             24   much for your patience. Attached is the summary
25   Foundation. I recall that.                           25   for the D&O quotes we've obtained to build a

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 1   $20 million tower." And it provides some other       1      Q    Mougayar, thank you.
 2   details.                                             2          He did not also hold the title of
 3           Do you know what Mr. Cameron is saying       3   director, correct?
 4   about the $20 million tower?                         4      A No.
 5       A I'm not sure what he means by "tower,"         5      Q And he didn't vote?
 6   but it's a $20 million coverage is what I assume     6      A No.
 7   it means.                                            7      Q The other person you said you consulted
 8       Q Is that what the Foundation got?               8   with was Bill Raduchel?
 9       A I can't recall. I believe so, based on         9      A Correct.
10   what's said here.                                   10      Q While you were a director of the
11       Q What was your role in arranging the           11   Foundation, the Foundation didn't pay
12   coverage?                                           12   Mr. Raduchel, did it?
13       A Basically just to direct Chris Cameron        13      A No.
14   to look at foundation insurance, and then it says   14      Q Did Kik pay Mr. Raduchel?
15   here, "Report to Bill and William."                 15      A I don't believe so, no.
16       Q Had they requested $20 million coverage?      16      Q He didn't hold the title of director
17       A I can't recall what the request was or        17   while you held it, correct?
18   whether that was what seemed -- what his            18      A No.
19   assessment was what would be necessary.             19      Q Did he ever hold the title of director?
20           It says here -- if you look here, it        20      A No, he was just a designee.
21   says, "Can you please confirm that you're okay to   21      Q He never became a director at all.
22   proceed and bind the coverage. This reflects the    22      A No.
23   increase that you requested to 20 million."         23          (Plaintiff's Exhibit 25 was marked for
24       Q Yes.                                          24          identification.)
25       A So it would be requested by them, based       25

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 1   on the email string.                                 1   BY MR. MENDEL:
 2      Q Did you essentially act as a go-between         2      Q I have handed you what's been marked
 3   to arrange the coverage?                             3   Deposition Exhibit 25.
 4      A I made the contact with Chris Cameron           4      A Yes.
 5   because he was our -- he was Kik's insurance         5      Q This was Investigatory Exhibit 167.
 6   agent.                                               6      A Correct.
 7      Q Was the insurance that the Foundation           7      Q Let me ask you, before we get to the
 8   obtained through the same agent, Magnes?             8   details of that, do you have any current position
 9      A Yes.                                            9   with Kik?
10      Q I'll take that back.                           10      A No, other than as a shareholder.
11      A Do you want this, too?                         11      Q Okay.
12      Q Yes. Thank you.                                12          Have you sold any shares of Kik since
13          You mentioned Mr. Mougayar's role with       13   the 1 million that you mentioned?
14   the Foundation.                                     14      A No.
15          Kik had already hired Mr. Mougayar as a      15      Q Did that position increase?
16   consultant to help with the Kin project, right?     16      A No. I did -- we did, back when -- I
17      A That's correct.                                17   don't know what year it was. We all gave
18      Q He was paid $5,000 a month?                    18   5 percent of our equity holdings to other
19      A Correct.                                       19   employees through another -- through a company,
20      Q That was from the March time period of         20   but I can't recall the structure of how it was set
21   2017?                                               21   up.
22      A Correct.                                       22      Q What year was that?
23      Q And while you were a director of the           23      A Probably around 2014 or '15. It was
24   foundation, Mr. Mougayar --                         24   when we did the B round.
25      A Mougayar.                                      25      Q Okay.

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 1           You stopped being an employee of Kik on      1   looking at the "Fees" section, it states,
 2   June 30th, 2018; is that right?                      2   "Consultant shall receive 51,600 Canadian dollars
 3       A Correct.                                       3   a month for 12 months, payable in advance in two
 4       Q And then you worked for Kik as a               4   equal installments."
 5   consultant.                                          5          Did you receive those two installments?
 6       A Correct.                                       6       A Yes, I did.
 7       Q And what I have given you as Exhibit 25,       7       Q Those were on July 1st, 2019, and
 8   this is your consulting agreement?                   8   January -- I'm sorry, those were on July 1st,
 9       A Correct.                                       9   2018, correct?
10       Q Looking at the first page, ending in          10       A Yes.
11   219, it says this was entered into on the first     11       Q And January 1st, 2019.
12   day of July 2018.                                   12       A That's correct.
13       A Correct.                                      13       Q So the second installment came after
14       Q Is that when it was entered into?             14   your investigative testimony in September of 2018,
15       A Yes.                                          15   right?
16       Q If you go to page 3, ending in numbers        16       A Correct.
17   221 on the lower right corner --                    17       Q It says, directly above "Fees,"
18       A Correct.                                      18   "Consultant will be required to provide
19       Q -- those are the signatures of                19   approximately 15 hours of advisory services per
20   Mr. Livingston for Kik and then signed by you       20   month"?
21   below, right?                                       21       A Correct.
22       A Correct.                                      22       Q So this -- if you average out 51,600
23       Q Going back to the first page, under           23   Canadian dollars over 15 hours, that's about 3,440
24   "Term," it states in the middle of the paragraph    24   Canadian dollars per hour; is that right?
25   there, "This agreement shall have a term of 12      25       A Correct.
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 1   months after which this agreement may be renewed     1       Q Did you exceed this 15-hour requirement
 2   on a month-to-month basis by further agreement of    2   in any month of your consultancy?
 3   the parties hereto," correct?                        3       A No. Well, I would say that I was --
 4      A Yes.                                            4   down here, there would have been, like, two
 5      Q Was this agreement renewed?                     5   days -- two full days just in that. So there
 6      A No.                                             6   would have been work, but I say over the course of
 7      Q Did you enter into a new agreement with         7   the year, when you average out the 15,000, it
 8   Kik after that?                                      8   didn't exceed -- or 15 hours.
 9      A How do you define agreement?                    9       Q When you're talking about "down here,"
10      Q Did you enter into any kind of                 10   you mean for your investigative testimony.
11   consultant agreement with Kik?                      11       A Exactly.
12      A No.                                            12       Q Okay.
13      Q Was -- looking at page 2, there's a            13           So Kik never paid you -- during the term
14   termination clause 6. Was the agreement             14   of your agreement, Kik never paid you extra in
15   terminated under this clause?                       15   addition to what you were ob- -- due under this
16      A No.                                            16   agreement, correct?
17      Q So the agreement went to completion,           17       A No, they didn't.
18   right, 12 months?                                   18       Q In your view, was the time you spent
19      A Correct.                                       19   as -- testifying with the SEC, was that pursuant
20      Q Let's go to Schedule A, which has the          20   to this agreement?
21   numbers 222 on the lower right corner. Do you see   21       A Yes, because it says, "Continued support
22   that?                                               22   with respect to regulatory issues such as the
23      A Yes.                                           23   SEC."
24      Q So, this Schedule A includes a statement       24       Q Okay. So the testimony fell into that
25   of work, and it includes a section on fees. And     25   bucket, bucket number 1 under --

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 1       A I mean, I would --                              1      A No, I didn't.
 2       Q -- Schedule A?                                  2      Q Have you paid any legal bills related to
 3       A Yes, I would assume -- yes. It wasn't a         3   the SEC's investigation or this lawsuit?
 4   direct correlation.                                   4      A No, he haven't.
 5       Q But you counted it?                             5      Q Do you have an understanding who's
 6       A I didn't really count it. I just had --         6   covering the bills for your attorneys sitting
 7   I didn't keep a set time record if that's what        7   here?
 8   you're asking.                                        8      A Can I just take a step back?
 9       Q No, I mean, I'm not asking that. I'm            9      Q Yes.
10   just asking if you considered your testimony         10      A I had one -- I had a call with, just
11   before the SEC in September to be doing work under   11   recent- -- well, before this happened, I did have
12   your consulting agreement, specifically statement    12   one call with a Canadian counsel who I just went
13   of work 1.                                           13   through, and then that was it. And I don't think
14       A I didn't -- I wouldn't say I considered        14   he's even billed me for the time.
15   it beforehand, before you just raising it right      15      Q When you say "this," are you talking
16   now. I mean, it was something I did, but it was      16   about this deposition?
17   sort of -- I just looked at it as a bucket here of   17      A Yes.
18   a number of different things.                        18      Q So you called a Canadian counsel, not
19       Q So you just did it.                            19   Cooley --
20       A Yes.                                           20      A Yes.
21       Q Did you think it was under your                21      Q -- about this.
22   consulting agreement?                                22      A Yes.
23       A I guess you could say that, but I don't        23      Q And you may get a bill for that.
24   know -- I'm not sure about the exact testimony.      24      A Right.
25   It was just ongoing support, it says there.          25      Q Do you know who's going to pay for that?

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 1       Q Did you perform any other tasks under           1           MR. CADIGAN: Objection.
 2   this item, number 1?                                  2      A     I haven't presented it yet, but ...
 3       A I can't recall. It's over a year ago.           3      Q     Presented it to Kik, you mean?
 4       Q You could have, you just don't know?            4      A     Yes, because I haven't gotten a bill.
 5       A I just don't know.                              5      Q     Do you plan to?
 6       Q Would you say -- well, for your                 6           MR. CADIGAN: Objection. You're talking
 7   investigative testimony, did you prepare for it?      7   about something he hasn't received.
 8       A Yes.                                            8       A I haven't received it yet so I'll take a
 9       Q Where did you prepare?                          9   look what it is. He might not even charge me
10       A I prepared in Palo Alto.                       10   so --
11       Q How many days did you prepare?                 11       Q Okay. So you'll address that. You may
12       A I think it was one to two days.                12   submit it to Kik after you receive it.
13       Q Was that preparation with Cooley's             13       A May or may not. I'm not sure.
14   lawyers?                                             14           MR. CADIGAN: Objection.
15       A Yes. Sorry, and then another day here          15       Q I'm just saying what your future plans
16   just prior to.                                       16   are. I think you can say what your future plans
17       Q Did you receive compensation, apart from       17   are.
18   your consulting agreement, for your preparation      18           MR. CADIGAN: Speculation. Objection.
19   for those sessions?                                  19   Go ahead, answer.
20           MR. CADIGAN: Objection. Go ahead.            20       A I may or may not. I'm not sure what I
21       A I was paid the expenses for flights, or        21   will do yet.
22   they paid them directly.                             22       Q Has anybody at all made any payments to
23       Q Did you receive any other payments for         23   you for appearing for this deposition today?
24   your time spent preparing for your investigative     24       A No. Just taking, considering, like,
25   testimony in 2018?                                   25   the -- I paid for the hotel this morning, and the

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 1   flights were booked through Kik.                      1   have a technology for converting WiFi in your home
 2       Q Has anybody made any payments to you for        2   to motion detection.
 3   appearing -- for preparing for this deposition?       3         And that's just been recently.
 4       A No.                                             4      Q Do you own Kin?
 5       Q Do you have any kind of understanding,          5      A Yes.
 6   like, broadly speaking, for payments that might       6      Q Since when?
 7   come to you for appearing in this deposition          7      A Since the TDE.
 8   today?                                                8      Q Have you sold any of it?
 9       A No.                                             9      A No.
10       Q Do you have any understanding of               10      Q And you -- as we discussed, you
11   payments that may come to you for preparing for      11   currently live in Canada at the address you
12   the deposition today?                                12   provided?
13       A Only for the expenses, flights and             13      A Yes.
14   hotel.                                               14      Q Did you meet with lawyers to prepare for
15       Q Flights and hotel.                             15   today's deposition?
16           You don't have an understanding that         16      A Yes, I did.
17   you'll be paid for your time today or for            17      Q When?
18   preparing?                                           18      A Yesterday.
19       A No.                                            19      Q Where?
20       Q Did you ever have emails with anybody          20      A Cooley's office here in Washington.
21   about the possibility of being paid for your time?   21      Q How long did you meet?
22       A No.                                            22      A Four hours, five hours.
23       Q Are you doing any work at all for Kik          23      Q In addition to that, you reviewed the
24   right now?                                           24   transcripts, right?
25       A No.                                            25      A That's correct.
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 1      Q Have you done any work at all for Kik in         1      Q Did you review documents?
 2   2019?                                                 2      A Did I review documents?
 3      A In 2019. I don't -- I can't recall any.          3      Q Yesterday during your preparation.
 4   Like, they might have gotten some calls about         4      A Yes.
 5   something for clarifications, but I have done no      5      Q Ballpark, how many did you look at?
 6   specific work for Kik.                                6      A I can't really say. Maybe 10 to 15.
 7      Q Are you still in touch with                      7   Probably similar to what I looked at here.
 8   Mr. Livingston?                                       8      Q And they refreshed your recollection?
 9      A I have spoken to him twice, probably,            9      A In some of the cases, yes.
10   since I've left.                                     10         MR. MENDEL: Can we go off the record,
11      Q What about Fred Wilson?                         11   please.
12      A No, I haven't spoken to Fred.                   12         THE WITNESS: Sure.
13      Q Paul Holland?                                   13         MR. CADIGAN: Yes.
14      A No.                                             14         THE VIDEOGRAPHER: We're going off the
15      Q After leaving Kik back in 2018 --               15   record. The time is 2:23 p.m.
16      A Yes.                                            16            (A brief recess was taken.)
17      Q -- what have you been doing                     17         THE VIDEOGRAPHER: We're back on the
18   professionally?                                      18   record. The time is 2:30 p.m.
19      A Well, I took time off. I took a course          19         MR. MENDEL: The SEC passes the witness.
20   from Oxford on blockchain. And then I worked for     20         MR. CADIGAN: We have no questions.
21   a company that put a major retailer's freight        21         MR. MENDEL: Thank you, Mr. Heinke.
22   management system on blockchain. And I've advised    22         THE WITNESS: Thank you.
23   an educational company on strategy and sale. And     23         MR. MENDEL: Okay. We're done.
24   then I've also just recently picked up a contract    24           (Discussion off the record.)
25   with a tech company for doing -- basically, they     25         THE VIDEOGRAPHER: We're off the record

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 1 at 2:30 p.m., and this concludes today's                    1          ERRATA SHEET
                                                               2 Deposition of Peter Heinke, Vol. 1
 2 deposition given by Peter Heinke.                             Date taken: November 22, 2019
                                                               3 Case: SEC vs. Kik Interactive, Inc.
 3       (The deposition was concluded at 2:30 p.m.)             PAGE LINE
 4                                                             4 ____ ____ CHANGE: _________________________________
                                                                 ____ ____ REASON: _________________________________
 5                                                             5
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25                                                               Signed ________________________________
                                                              25 Dated ________________________________

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 1            CERTIFICATE OF WITNESS                           1          REPORTER CERTIFICATED
 2   I, PETER HEINKE, declare that I have read the entire      2
 3   transcript of Volume 1 of my deposition testimony, or     3   I, Michele E. Eddy, Registered Professional Reporter
 4   the same has been read to me, and certify that it is a    4   and Certified Realtime Reporter, Participating Member
 5   true, correct and complete transcript of my testimony     5   of NCRA, do hereby certify that: Peter Heinke
 6   given on Friday, November 22, 2019, save and except       6   appeared before me on Friday, November 22, 2019, was
 7   for changes and/or corrections, if any, as indicated      7   sworn by me, and was thereupon examined by counsel;
 8   by me on the attached Errata Sheet, with the              8   that the foregoing is true and accurate to the best of
 9   understanding that I offer these changes and/or           9   my knowledge, skill and ability; that the testimony of
10   corrections as if still under oath.                      10   said witness was taken and reduced to stenotype
11   _______ I have made corrections to my deposition.        11   writing before me; that the said transcript is a true
12   _______ I have NOT made any changes to my deposition.    12   and accurate record of the testimony given by said
13                                                            13   witness; that I am neither counsel for, related to,
14   Signed ______________________________                    14   nor employed by any of the parties to the action in
         PETER HEINKE (Volume 1)                              15   which this deposition was taken; and further, that I
15                                                            16   am not a relative or employee of any attorney or
16 Dated this __________ day of ____________ , _____          17   counsel employed by the parties thereto; nor
17                                                            18   financially or otherwise interested in the outcome of
18                                                            19   the action.
19                                                            20       IN WITNESS WHEREOF, I have hereunto set my hand
20                                                            21   this 2nd day of December, 2019.
21                                                            22
22                                                            23 _______________________________
23                                                            24 Michele E. Eddy, RPR, CRR, CRI
24                                                               Notary Public in and for the District of Columbia
25                                                            25 My Commission expires July 14, 2022

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